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                 EXHIBIT 10
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                                                                                           OMB Control No. 1505-0080
                                                                      1. THIS CONTRACT IS A RATED ORDER                                    RAT NG                               PAGE       OF    PAGES
              AWARD/CONTRACT                                             UNDER DPAS (15 CFR 350)
                                                                                                                                                                                      1                60
2. CONTRACT (Proc. Inst. Ident.) NO.                                  3. EFFECTIVE DATE                                      4. REQUISITION/PURCHASE REQUEST/PROJECT NO.
      TIRNE-14-C-00013                                                   05/20/2014                                                L-4-L1-20-E2-X06 000

5. ISSUED BY                                              CODE      12157                                6. ADMINISTERED BY (If other than Item 5)                      CODE


      INTERNAL REVENUE SERVICE
      NE Area Procurement Branch (A:P:F:NE)                                                                   See Item 5
      290 Broadway 3rd Floor
      New York, NY 10007

      MARK DAVIDSON 212-436-1786

7. NAME AND ADDRESS OF CONTRACTOR (No. street, county, state and ZIP Code)                          Vendor Id: 01717927                       8. DELIVERY
      QUINN EMANUEL URQUHART & SULLIVAN, LLP                                                        Cage Code:720K3
                                                                                                    Tax ID#                                         FOB ORIGIN               X OTHER (See below)
      Mr. Christopher Tayback          213-443-3170                                                                                           9. DISCOUNT FOR PROMPT PAYMENT

                                                                                                                                               Terms: 0% Days: 30 Net: 30

                                                                                                                                              10. SUBMIT INVOICES                 ITEM
                                                                                                                                              (4 copies unless other-
                                                                                                                                              wise specified) TO THE              See Block 12
                                                                                                                                              ADDRESS SHOWN IN:
CODE                                                                        FACILITY CODE

11. SH P TO/MARK FOR                                           CODE         11242                        12. PAYMENT WILL BE MADE BY                                CODE          12108

      IRS                                                                                                Invoices must be submitted via the Invoice
      450 Golden Gate Avenue
      San Francisco, CA 94010
                                                                                                           Processing Platform at www.ipp.gov
      TIM TUEY 2124361518



13. AUTHORITY FOR USING OTHER FULL AND OPEN COMPETITION:                                                 14. ACCOUNTING AND APPROPRIATION DATA
        10 U.S.C. 2304(c) (              )              X     41 U.S.C. 253(c) ( 1 )                       14140913D L120000 7G 1181

      15A. ITEM NO.                              15B. SUPPLIES/SERVICES                                   15C. QUANTITY             15D. UNIT           15E. UNIT PRICE                   15F. AMOUNT


                            THIS IS TO PROVIDE EXPERT SERVICES

                            PERIOD OF COVERAGE: 5/20/14 THRU
                            12/31/16

                            See Attached Schedule(s)
                                                                                                                       15G. TOTAL AMOUNT OF CONTRACT $ 2,185,500.00
                                                                                       16. TABLE OF CONTENTS
() SEC.                                     DESCRIPTION                                    PAGE(S)      () SEC.                                DESCR PTION                                        PAGE(S)
                                     PART I - THE SCHEDULE                                                                                  PART II - CONTRACT CLAUSES

 X      A   SOLICITATION/CONTRACT FORM                                                          1         X     I   CONTRACT CLAUSES                                                                 46 - 57
 X      B   SUPPLIES OR SERVICES AND PRICE/COST                                               2-4                        PART III - LIST OF DOCUMENTS, EXHIBITS AND OTHER ATTACH.

 X      C   DESCRIPTION/SPECS./WORK STATEMENT                                                5 – 16       X     J   LIST OF ATTACHMENTS                                                              58 - 60

 X      D   PACKAGING AND MARKING                                                            17 - 18                             PART IV - REPRESENTATIONS AND INSTRUCTIONS
 X      E   INSPECTION AND ACCEPTANCE                                                          19                   REPRESENTATIONS, CERTIFICATIONS
                                                                                                                K
 X      F   DELIVERIES OR PERFORMANCE                                                        20 - 24                AND OTHER STATEMENTS OF OFFERORS

 X      G   CONTRACT ADM NISTRATION DATA                                                     25 – 31            L    NSTRS., CONDS., AND NOTICES TO OFFERORS
 X      H   SPECIAL CONTRACT REQU REMENTS                                                    32 – 45           M    EVALUATION FACTORS FOR AWARD

                                                  CONTRACTING OFFICER WILL COMPLETE ITEM 17 OR 18 AS APPLICABLE
 17.           CONTRACTOR’S NEGOTIATED AGREEMENT (Contractor is                                           18. X AWARD (Contractor is not required to sign this document.) Your offer on Solicitation
 required to sign this document and return           copies to issuing office.) Contractor agrees to      Number TIRNE-14-R-00002 DATED 5/16/14, including the additions or changes made by you
 furnish and deliver all items or perform all the services set forth or otherwise identified below and    which additions or changes are set forth in full above, is hereby accepted as to the items listed above
 on any continuation sheets for the consideration stated herein. The rights and obligations of the        and on any continuation sheets. This award consummates the contract which consists of the following
 parties to this contract shall be subject to and governed by the following documents: (a) this           documents: (a) the Government’s solicitation and your offer, and (b) this award/contract. No further
 award/contract, (b) the solicitation, if any, and (c) such provisions, representations,                  contractual document is necessary.
 certifications, and specifications, as are attached or incorporated by reference herein


19A. NAME AND TITLE OF SIGNER (Type or print)                                                            20A. NAME OF CONTRACTING OFFICER
                                                                                                                MARK DAVIDSON             212-436-1786

19B. NAME OF CONTRACTOR                                                    19C. DATE SIGNED              20B. UNITED STATES OF AMERICA                                          20C. DATE SIGNED

     _______________________________________________                                                     BY _____________________________________________
             (Signature of person authorized to sign)                                                                (Signature of Contracting Officer)

NSN 7540-01-152-8069                                                                           26-107                                                       STANDARD FORM 26 (REV. 4-85)
PREVIOUS EDITION UNUSABLE                                                                 Computer Generated                                                Prescribed by GSA
                                                                                                                                                            FAR (48 CFR) 53.214(a)




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*** SIGNATURE NOT REQUIRED PROPOSAL SENT VIA EMAIL DATED 5/16/14 IS
                       HEREBY ACCEPTED***


                                                  Section B

SUPPLIES OR SERVICES AND PRICES/COSTS
 Line Item
    No.        Description of Supplies/Services            Qty         U/I   Unit Price             Total


 0001        PHASE EVALUATION AND CASE                         1.00   AJ     1,915,500.00    1,915,500.00 NTE
             SUPPORT IN ACCORDANCE WITH                                              NTE
             THE PERFORMANCE WORK
             STATEMENT THAT BEGINS ON
             PAGE FIVE (5) OF THIS ORDER

             I.EXPERT(S)/CONTRACTOR(S) -

             A. JOHN QUINN - 200 HRS @
             $1,120.00 PER HR

             B. JOHN GORDON - 300 HRS @
             $1,075.00 PER HR

             II. PARTNER(S)

             A. JEREMY ANDERSEN - 400 HRS @
             $840.00 PER HR

             III. ASSOCIATE (S)

             A. NOAH HELPERN - 700 HRS @
             $670.00 PER HR

             B. RYAN KEECH - 800 HRS @
             $555.00 PER HR

             IV. PARALEGAL (S)

             A. CAROL O'CONNOR ? 400 HRS @
             $300.00 PER HR

             TRAVEL AND MISCELLANEOUS
             EXPENSES FOR THIS PHASE ON
             LINE TWO (2)

             NOTE: The persons listed above
             should not be the only one's invoices
             who are paid. If a person falls into one
             of the hourly rates but is not listed
             payment should be made as long as
             the COTR has signed off on the
             invoice. The category/person outlined
             under this phase has estimated hours
             only. As long as invoices do not go over
             the total price allocated for this phase it
             should be paid.


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       Accounting and Appropriation Data:

       Fund                     Cost Center           Functional   Material Group    Internal
                                                      Area                           Order

       14140913D                L120000               7G           1181
                                                                                     $1,915,500.00
       PR #: L-4-L1-20-E2-X06




0002   TRAVEL AND MISCELLANEOUS                    1.00    AJ       270,000.00      270,000.00 NTE
       EXPENSES                                                           NTE

       PHASE ONE (1):

             TRAVEL: $ 60,000.00
       MIS. EXPENSES: $210,000.00

       **TRAVEL REIMBURSEMENT SHALL
       BE IN ACCORDANCE WITH THE
       FEDERAL TRAVEL REGULATIONS**

       Accounting and Appropriation Data:

       Fund                     Cost Center           Functional   Material Group    Internal
                                                      Area                           Order

       14140913D                L120000               7G           1181
                                                                                       $270,000.00
       PR #: L-4-L1-20-E2-X06




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                                       SECTION B

B.1 GENERAL

It is the Government’s intention under the terms and conditions of this contract to obtain
professional evaluation, expert witness, consultation and other related expert services for the IRS.
Services to be performed under the terms of this contract are defined in Section C. The terms and
conditions outline is said document are the contractual arrangement between the Government and
Expert Witness. Performance outside of the scope, and / or above the firm fixed price for each
Phase as well as travel and miscellaneous, shall be provided at the Contractor’s own risk. This
would be considered an unauthorized procurement.

B.2 CONTRACT CEILING PRICE

The total firm fixed price for all Phases plus travel and miscellaneous under this
order $2,185,500.00. Total cost are in accordance with the Schedule of Items set forth in Schedule
of Items at the fixed labor-hour rates specified, not to exceed the total amount for any individual
line item. Funding for each of the phases is dependent on the litigation schedule of the
government, the court’s scheduling if required, appeals, settlement and/or final disposition of the
taxpayer case. The work for each phase may be funded at time of award, or at the time each option
phase is exercised

B.3 SCHEDULE OF ITEMS

The Contractor shall provide contract services at the fixed hourly rates established under Schedule
of Supplies and Services for each category. In no event shall the Contractor exceed any CLIN
Amount (not-to-exceed (NTE)) without prior written approval of the Contracting Officer
(CO); to do so will be at the contractor's own risk.

Work in each phase shall be performed and billed on an hourly basis except for authorized travel
expenses which shall be separately authorized and billed. The hourly rate is to be the expert's
complete compensation such that the only additional charges shall be for authorized travel and
miscellaneous expenses. Each phase is governed by its own not to exceed limitation. Only the
contracting officer can increase the not to exceed limitation, and each such increase shall be
through a written modification to this contract




NOTE: EXPENSES MUST BE ITEMIZED ON INVOICES, WITH LEGIBLE COPIES OF
RECEIPTS ATTACHED. SEE FAR PART 32.905, PAYMENT DOCUMENTATION AND
PROCESS FOR CONTENTS OF A PROPER INVOICE.


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                                      SECTION C
                       PERFORMANCE WORK STATEMENT

INTRODUCTION/ BACKGROUND

   The Internal Revenue Service (the “IRS” or the “Service”) requires the services of a contractor
who is an expert in commercial litigation (the “Contractor”) to assist with the evaluation, analysis,
presentation and defense of claims or adjustments related to the issues under examination. The
services to be rendered under this Contract include but are not limited to investigation, document
review, and research so as to be able to consult with the Service and/or advise the Service. The
subject matter of the services required to be rendered under this Contract include but are not
limited to transfer pricing issues relating to the license of intangible property rights in association
with a cost sharing arrangement and related transactions.

   The Contractor is a law firm and the Key Personnel (including “Contractor 1” and “Contractor
2,” collectively the “Key Personnel”) are highly skilled commercial litigation attorneys with
extensive complex litigation experience evaluating, preparing and presenting cases dealing with
multifaceted facts, complex economics and multiple legal issues. The Key Personnel will perform
the work describe below and will oversee and direct any other personnel of the Contractor who
work on this project. The Key Personnel will verbally report facts, conclusions and
recommendations to the Service, and, if desired by the Service, the Key Personnel will prepare
written reports and cause such reports to be sent or delivered to the Service. If desired by the
Service, the Contractor agrees that the Key Personnel will assist in preparing for and attend
meetings, presentations and interviews.

    The Service is analyzing a set of intercompany transactions (the “Transactions”) between the
taxpayer and its U.S. affiliates (together, the “Taxpayer”) and Taxpayer’s foreign affiliate. As part
of the Transactions, the Taxpayer and its foreign affiliate did the following: (1) effective July 2005,
the Taxpayer licensed to its foreign affiliate rights to ‘technology intangibles’ embodied in certain
software products sold by the Taxpayer to third-parties in the Americas geographic region; (2) the
foreign affiliate made a buy-in payment (the “Buy-In Payment”) to compensate the Taxpayer for
the value of the rights that it received and assumed responsibility for funding future research and
development associated with the technology intangibles; and (3) the Taxpayer and the affiliate
established a transfer price (the “Transfer Price”) to determine how to share revenues that are
collected, after licensing of the technology intangibles to the foreign affiliate, on future sales of the
software products in question to third-parties.

   The Service is considering whether the Buy-In Payment and Transfer Price amounts
determined by the Taxpayer reliably and accurately determine the arm’s length transfer prices
between the related entities. Together, the Buy-In and the Transfer Price issues impact two
currently open examination periods, the first examination period for Taxpayer’s fiscal years ended
June 30, 2004 through June 30, 2006 and the second for Taxpayer’s fiscal years ended June 30,
2007 through June 30, 2009. To the extent the Taxpayer continues to apply the Transfer Price
proposed after fiscal year ended June 30, 2009, the issue may have continuing relevance, as well.




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   In addition to the Transactions, the Service is also analyzing other intercompany transactions
by the Taxpayer that may raise similar transfer pricing issues or share overlapping facts.

SCOPE

   The Contractor shall provide all management, supervision, labor, materials, supplies, and
equipment (unless otherwise stated), and shall plan, schedule, coordinate, and assure effective
performance of all services described herein.

   The Contractor shall provide the services and deliver the outcomes described in Phase 1. Phase
1 will commence upon award of the Contract or as required by the Government based on its
schedule.

   This Phase for Evaluation & Case Support is non-severable and will not exceed the period
during which fiscal year funds applied to this contract are available.

   The Contractor is required to furnish all labor and materials associated with the requirements of
the contract except where otherwise specified.

   The Contractor shall be expected to perform travel as necessary to meet the requirements of the
contract. Authorized travel and related expenses shall be reimbursed to the Contractor/Expert
subject to the contract terms outlined herein.

   The Contractor/Expert shall obtain written permission from the COR prior to making any
“Third Party” investigative contacts. The Contractor/Expert shall provide the COR with details
regarding “Third Party” contacts. The details of the “Third Party” contact shall be provided to the
COR in writing within ten working days after the contact. The COR shall provide guidance as to
what information is required to be reported regarding “Third Party” contacts by the
Contractor/Expert.

   The Contractor/Expert shall strictly protect the taxpayer’s rights to privacy by adhering to
Federal “Privacy” and “Non-Disclosure” of taxpayer information regulations and requirements
outlined herein.

I. PERFORMANCE REQUIREMENTS

   The Contractor is expected to perform according to the terms of this Contract, even if the time
frames are delayed. The Contract is subject to termination and/or Contract payment deduction, if
the performance standards are not met.

    In the event the Contractor is not needed at any point, the Service will terminate services
in accordance with Contract terms and payment will be made for that portion of work performed.

   The Contractor is expected to perform according to the terms of this Contract, even if the time
frames are delayed. The Contract is subject to termination and/or Contract payment deduction, if
the performance standards are not met.



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  Contract performance requirements are identified in Phase 1 and under the Monthly Status
Report Section below.

Phase 1 – Evaluation & Case Support

Required Service(s)

   For ease of reference, the required services in this phase are described in two categories:
(A) “Evaluation” services and (B) “Case Support” services. In practice, the Evaluation and the
Case Support services described below may overlap (e.g., distinct Evaluation and Case Support
services may be performed in parallel/contemporaneously or the same service may simultaneously
support both service categories).

    Phase 1 Category A Services: Evaluation: The Contractor will review all of the key documents
(including reports, position papers, IDR responses, etc., prepared by or on behalf of the Taxpayer
or the Service) and all relevant legal authorities to build a thorough understanding of the factual
and legal issues and the record to date. This will entail independent research, as appropriate, and
attending meetings as requested by the POC or the COR. After completing a thorough review of
the record at the time of contract award, the Key Personnel will deliver to the Service an in-person
detailed briefing assessing the case based on the existing record and will give their
recommendations.

It is anticipated that this phase will consist of but not be limited to the following steps:

Step 1: The Contractor shall have a preliminary meeting with the Service to obtain a clear
understanding of the scope of the Contract requirements. The meeting will be held in person or by
teleconference and is anticipated not to exceed one full day. Records identified by the Service as
central to the assessment of the Transactions will be made available to the Contractor.

Step 2: Review initial package of documentation and request additional documentation. The
Contractor will review an initial package of documentation provided by the Service. The
Contractor will inform the POC if there are additional materials that the Contractor believes would
be helpful and would like to review before completing the preliminary analyses described above
and, if available, the Service will attempt to secure the requested records. However, it is possible
that some of the additional materials requested, if any, may not exist or otherwise be unobtainable.

Step 3: As appropriate, subsequent ad hoc meetings or telephone calls will be scheduled and held
with the Contractor to facilitate the assessment of the Transactions and to plan and begin executing
follow-up steps that are appropriate to accomplish the goals of this phase. Travel may be required.

Step 4: The Key Personnel will present to the Service a detailed in-person verbal detailed briefing
of the Key Personnel’s findings, assessment, and recommendations with respect to the factual and
legal state of the case, identifying strengths, weakness, and areas for further development. The
Service may require the Key Personnel to travel. If requested by the Service, the Key Personnel
may need to repeat the briefing or parts of the briefing via conference calls or via in-person
meetings to other Service stakeholders.



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   Phase 1 Category (B) Services: Case Support: The Contractor will support continued
development, analysis, evaluation, and preparation of the issues under examination. The
Contractor will assist the Service in preparing, organizing and presenting the factual record and
legal analysis of the case. The Contractor will work collaboratively with the Service to support the
examination. Contractor’s assistance may include but not be limited to consulting on the analysis
and theory of the case; identifying additional information deemed necessary to develop clearly
defensible positions, including any necessary data, documents, or interviews; assisting with
further factual development through document review, identifying and preparing new document
requests, preparing for or participating in interviews; performing independent research; consulting
on position papers/reports prepared by or on the behalf of the Service or the Taxpayer; preparing,
consulting on or assisting with presentations; and reviewing and providing analysis and critique of
Taxpayer’s supplemental positions or responses, if any. Travel may be required.

   For both Category (A) and (B) services, the Contractor agrees to verbally report conclusions
and findings to the Service. After discussion with the Service, if desired by the Service, the
Contractor will prepare a written summary or report on identified sub-issues and cause it to be
presented or delivered to the Service

Performance Standards:

       •   Demonstrate effective verbal communication and interpersonal team skills.
       •   Perform independent research and analysis of all relevant legal authorities,
           demonstrating an in-depth understanding of all legal aspects of the case.
       •   Develop and demonstrate an in-depth and thorough understanding of the facts and
           economics of the Transactions and relevant aspects of the Taxpayer’s business.
       •   Timely respond to the Service’s oral or written inquiries.
       •   Timely request through the Service required information from the Taxpayer.
       •   Timely identify legal and factual issues relevant to evaluating the Taxpayer’s and the
           Service’s theory of the case.
       •   Timely notify the POC of the need for meetings or conference calls helpful to support
           of the case.
       •   Timely schedule and participate in conference calls and in-person meetings with the
           Service when requested by the POC or COR.
       •   Explain in a clear and professional manner the quality and thoroughness of facts and
           analyses relied on to form the assessment and recommendations presented in the
           detailed verbal briefing.
       •   If requested by the POC or the COR, prepare written analysis of clearly identified
           issues or sub-issues related to the case.
       •   Thoroughly document, as appropriate, factual development and due diligence.
       •   Develop and demonstrate thorough familiarity and understanding of all relevant legal
           authorities, including but not limited to tax, commercial, intellectual property, and
           procedural authorities.




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Additional Performance Standards:

       •   As part of the Evaluation services, the Key Personnel shall verbally deliver the detailed
           briefing in-person to the Service at the time and place requested by the POC (and, if
           requested by POC, the Key Personnel shall repeat the detailed briefing or a sub-part of
           the briefing in-person or by conference call).
       •   As part of the Case Support services, the Key Personnel shall on an as-needed basis
           deliver oral recommendations in person or by conference call to the POC and other
           selected members of the Exam team. The Key Personnel shall clearly and
           professionally present the Contractor’s analysis, and clearly explain the quality and
           thoroughness of the facts and analyses relied on to form the Contractor’s
           recommendations.

Desired Outcomes

The Contractor will perform a thorough initial factual, economic and legal assessment of the
record and theory of the case. Following completion of this initial assessment, the Key Personnel
will present to the Service a detailed briefing presenting the Contractor’s assessment of the case
and giving the Contractor’s recommendations. During and after the initial assessment, the
Contractor will consult with and support the Service on an as-needed basis to assist in assessing,
preparing, organizing and presenting the issues under examination. Required Contract services
shall be provided in accordance with the Delivery Schedule outlined below.

Monthly Status Report

The Contractor shall include with the monthly invoices, a written status report to the COR. The
status report shall, at a minimum, address the following items:

       •   Current target dates and progress for providing deliverable(s),
       •   Any problems or expected problems with delivery of services or products,
       •   Completed items,
       •   Outstanding issues,
       •   Report of direct labor hours expended for the month,
       •   Accounting of project cost by phase:
       •   Total amount invoiced and
       •   Total amount of delivered but not invoiced services.

The Contractor shall be required to promptly provide written notification to the COR and the POC
when his or her efforts have reached:

       •   Respectively, 25%, 50% and 75% of the awarded amount of Phase 1.

After reaching 50% of the awarded amount in Phase 1, the Contractor shall be required to
receive written notification from the COR to proceed before performing additional services
in Phase 1. After reaching 75% the awarded amount in Phase 1, the Contractor shall be



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required to receive written notification from the COR to proceed before performing
additional services in Phase 1.

In no event may the Contractor’s services exceed the awarded amount of said phase without
the prior written authorization of the Contracting Officer.

Performance Standards:

       •   Complete and accurate monthly status reports.
       •   Provide notification when the specified percentages of the awarded amounts for each
           phase are reached.
       •   Timely deliver the report to the COR.


II. APPLICABLE DEFINITIONS, DIRECTIVES and/or DOCUMENTS

Applicable Definitions, Directives and/or Documents

Definitions

Third Party Contacts Defined

If the Contractor needs information from a third party, the Contractor shall first obtain permission
for the IRS and the IRS will provide additional guidance as needed on a specific case-by-case
basis.

Third party contacts are defined and explained in I.R.C. § 7602(c) and the IRS Restructuring and
Reform Act of 1998, Pub. L. 105–206, § 3417. Third party contact definitions and requirements
are described generally in the IRS’s Internal Revenue Manual (IRM) Part 4.10.1.6.12 (available at
www.irs.gov). For third-party information gathering, see I.R.C. § 7609 (providing special
procedures for third-party summonses); and IRM Part 25.5.6 (summonses on third-party
witnesses) (available at www.irs.gov).

For Directives about Third Party Contacts, see below.

Disclosure and Privacy Act Requirements and Definitions

Generally, I.R.C. § 6103 limits disclosure of taxpayers’ returns and return information to third
parties. Privacy Act (5 U.S.C. 552a) requirements are described in detail in IRM Part 11, and
I.R.C. §§ 6103, 6104, 6110, 7213, 7213A, and 7431. Applicable clauses are incorporated herein.
The IRM can be accessed at www.irs.gov.

IRS Property and Records Defined

Government property shall include all government equipment and records and documents,
including Taxpayer records and documents, provided to the Contractor by the Government or by


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the Taxpayer and shall include all Contractor generated work products and workpapers associated
with the requirements of this Contract. It is anticipated that the Service may, at its option, furnish
secure electronic storage media or laptops which will have security software for data encryption.

Reference Materials and Purchased Documents

The Service’s property shall include reference materials, books, documents and supplies
purchased by the Contractor as necessary for performing the requirements of this Contract if the
Contractor is reimbursed by the Service for such purchases on an actual cost basis documented
with copies of receipts for the purchases.

Directives

Contract Administration

All contacts by the Contractor regarding the administration of technical details within the scope of
this Contract shall be addressed to the COR for advice and coordination. All Contractor contacts
with the Service’s audit team and with the Taxpayer shall be coordinated through the POC.

Also see G.1 IR1052-96-019 Authority - Contracting Officer, Contractor Officer’s Representative
And Contractor's Project Manager.

“Contractor” Is All Inclusive

The requirements, responsibilities, liabilities and limitations of this Contract shall apply to the
Contractor, employees of the Contractor, the Key Personnel, and any subcontractors of the
Contractor.

Third Party Contacts

Generally, any investigative-type third party contacts will be made by the Service. See, I.R.C. §
7602(c) (requiring the Service to notify the taxpayer about contact with third parties), I.R.C. §
7609 (providing special procedures for third-party summonses). For procedures, see IRM Part
4.10.1.6.12 (third party contacts) and IRM Part 25.5.6 (summonses on third-party witnesses)
(available at www.irs.gov).

The Contractor will obtain written permission from the POC or COR prior to making any Third
Party Contacts related to performance of this Contract. If the Service determines that the
Contractor may make a particular Third Party Contact, the Contractor will provide the COR with
details regarding the Third Party contact. The Contract will provide details of the Third Party
contact to the COR in writing within ten working days after the contact. The COR will provide
guidance as to what information is required to be reported regarding Third Party contacts by the
Contractor.




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Also see Section H – Disclosure, Safeguards and Security. - Addressing I.R.C. § 6103 (stating
that taxpayers’ returns and return information are confidential and may not be disclosed to third
parties).

Materials to be Relied Upon

The Contractor will examine publicly available information as well as documents and materials
obtained by the POC or examination team.

Comply With All Security Policies

The contractor shall comply with all IRS security and safeguard policies and procedures as
described in Pub. 4812 – Contractor Security Controls (and in IRM 10.8.1, Information
Technology (IT) Security, Policy and Guidance if the contractor has access to, and/or uses or
operates IRS information systems containing IRS information at facilities controlled by IRS). This
shall include full cooperation with all government security and safeguard related requests and
activities that are within the scope of these policies and procedures including but not necessarily
limited to:
         • Post-award conferences,
         • Security self-assessments,
         • Contractor and Contractor employee background investigations (see IRM 1.23.2,
             Security Investigations, Contractor Investigations),
         • Training,
         • On-site security reviews, and
         • Preparing and implementing a “Plan of Action and Milestones” (POA&M) to
             adequately mitigate or otherwise address unacceptable risks identified by the
             Government.

Basic Security and Safeguard Concepts

The following basic concepts are applicable under the terms of this Contract, however it should be
understood that this is not an all-inclusive listing of requirements that may apply.

The Contractor shall implement management, operational and technical controls to incorporate the
following security and safeguard concepts in his/her business operations:
       • ID Media/Card Keys/Keys
       • Document Security
       • Incident Reporting
       • Security Awareness

Guidance is provided in Pub. 4812 – Contractor Security Controls (and in IRM 10.8.1,
Information Technology (IT) Security, Policy and Guidance if the contractor has access to,
and/or uses or operates IRS information systems containing IRS information at facilities
controlled by IRS).




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A copy of Pub. 4812 – Contractor Security Controls can be found on www.irs.gov by performing
a search on “Procurement”.

A copy of IRM 10.8.1, Information Technology (IT) Security, Policy and Guidance can be found
on www.irs.gov by performing a search on “Internal Revenue Manual” followed by clicking on the
Internal Revenue Manual link and then clicking on the “Part 10 – Security, Privacy and
Assurance” link.

Contractor Background Investigations

The Service requires all persons with access to Taxpayer information to pass a background
investigation. The investigation requires the individuals to provide significant information to the
investigation team. It will also require each person to provide a set of fingerprints. This activity
requires several hours of effort for each individual and this time is not chargeable to the Contract.

Unless other arrangements are made with the COR, the Contractor must complete and return the
background investigation paperwork data to Contractor Security Management (CSM) within 5
calendar days of Contract award.
The Contractor personnel must receive either “interim approval” or a “final decision” for staff-like
access before being provided with unescorted access to sensitive information.

Contractor Training Requirements

The Key Personnel and the Contractor’s employees and, if applicable, sub-contractors shall be
required to complete “Security” awareness training to be provided by the Service prior to being
granted unescorted access to sensitive information.

Contractor personnel performing technical security roles requiring specialized training shall
receive a minimum of twelve (12) hours of continuing professional education annually at the cost
of the Contractor.

Contractor personnel performing non-technical security responsibilities requiring specialized
training shall receive a minimum of eight (8) hours of continuing professional education
annually at the cost of the Contractor.

Contractor Security Self-Assessment

The Service may, at its option, require the Contractor to perform a security self-assessment prior to
being granted unescorted access to sensitive information. If requested, the security self-assessment
must be completed and returned to the Contracting Officer’s Representative (COR) within two
weeks of the date of award of the Contract.

See Section J - Exhibit 5 - Contractor Security Self-Assessment for an example of a security
self-assessment check sheet.

Meetings



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Meetings involving the Contractor called or scheduled by the POC or COR and may be in the
nature of conference telephone calls or on-site, face-to-face meetings, at the election of the POC or
COR. The POC or COR shall provide reasonable advance notification to the Contractor regarding
the location and expected duration of meetings, conference calls, etc.

Records, Reports and Workpaper Maintenance and Organization

Records, Reports and Workpapers shall be maintained and organized in accordance with the
requirements set forth in IRM 4.46.6, LB&I Guide for Quality Examinations, Workpapers and
Reports Resources. IRMs may be accessed at www.irs.gov.

Return of Service Property

All property of the Service in the possession of the Contractor in direct relation to the requirements
of this Contract shall be returned to the Service prior to final payment for services rendered by the
Contractor.

Abbreviations and Acronyms

       AQL = Acceptable Quality Level
       CFR = Code of Federal Regulations
       CO = Contracting Officer
       COR = Contract Officer’s Representative
       CSM = (IRS) Contractor Security Management (Formerly CSLP)
       CSLP =Contractor Security Lifecycle Program (Currently CSM)
       FAR = Federal Acquisition Regulations
       FIPS = Federal Information Processing Standard
       FISMA = Federal Information Security Management Act
       GSA = General Services Administration
       IP =Intellectual Property
       IT =Information Technology
       I.R.C. =Internal Revenue Code
       IRM = Internal Revenue Manual
       IRS or Service =Internal Revenue Service
       LB&I =Large Business and International Division of the IRS
       NIST =National Institute of Standards and Technology
       NBIC =National Background Investigation Center
       POC = Point of Contact
       PRST =Performance Requirements Summary Table
       PWS = Performance-based work statement
       QASP =Quality Assurance Surveillance Plan
       SBU = Sensitive but unclassified
       RRA98 =Revenue Reform Act of 1998
       TC =Team Coordinator
       USC = United States Code (also U.S.C.)




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Documents

Quality Assurance Surveillance Plan (QASP)

A QASP may be utilized by the Service and sets forth guidelines that may be used in evaluating the
technical performance of the Contractor. The procedures set forth in the QASP are not
contractually binding on the Service or on the Contractor. The Contractor will be provided a copy
of the QASP for informational purposes only – See below - Section F2 Quality Assurance
Surveillance Plan (QASP).

Surveillance Activity Checklist

A “Surveillance Activity Checklist” may be used by the COR/Evaluator to document Contractor’s
performance – See Section J, Exhibit 1 - Surveillance Activity Checklist.

Decision Table

A “Decision Table” may be used by the COR/Evaluator in documenting symptoms and in
identifying possible sources of performance problems as well as assisting in the determination of
contributing factors – See Section J, Exhibit 2 - Decision Table.

Performance Requirements Summary Table (PRST)

A PRST may be utilized by the Government and describes to the Contractor how the Service will
monitor the Contractor’s performance. The weights found in the table represent the maximum of
the contract value that the Government can deduct for nonperformance or unsatisfactory
performance of a service requirement. The Government has the unilateral right to change the
Method of Inspection found in the table without notice to the Contractor – See Section J, Exhibit
3 - Performance Requirements Summary Table.

III. METHOD OF PAYMENT

Evaluation of Services (See Section F - Quality Assurance Surveillance Plan – QASP))

The Contractor's services will be evaluated by the Internal Revenue Service upon completion of all
services directed by the Service under this Contract.

Holdback Provision:

For purposes of FAR 52.232-7(a)(2), the amount withheld shall be 0% of the amount due.

IV.GENERAL PROVISIONS

Disclosure Prohibitions




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The Contractor may, to the extent authorized by the Internal Revenue Code (I.R.C.) for tax
administration purposes, and as necessary for the performance of his or her duties under this
Contract, be given access to confidential tax returns and return information, as those terms are
defined in I.R.C. § 6103(b)(1) and (2), respectively. Unauthorized disclosures of tax returns or
return information may subject the Contractor to personal liability for civil damages under I.R.C. §
7431(a)(2), criminal prosecution under I.R.C. § 7213, or both.

Also see Section H – Disclosure, Safeguards and Security.

Limited Authority of the Contractor

The Contractor shall not have the authority to perform inherently governmental functions as
described in OFPP Policy Letter 11-01 including, but not necessarily limited to, any government
policy-making, decision-making, portraying the Contractor as a representative of the government
or performing governmental managerial responsibilities.
(http://www.whitehouse.gov/omb/procurement_index_work_performance/)

Also see G.1 IR1052-96-019 Authority - Contracting Officer, Contractor Officer’s
Representative and Contractor's Project Manager.

Relationship with Office of Chief Counsel for the IRS

It is clearly understood that the Office of Chief Counsel for the Internal Revenue Service, the
attorneys assigned to this matter, are the representatives of the Service and are not the legal
representative of the Contractor and cannot provide legal advice to the Contractor.




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                                      SECTION D

D.1 Packaging

All contract deliverables shall be delivered in accordance with the Contractor’s best commercial
practices unless otherwise expressly stated in Section F.

D.2 Markings

All contract deliverables submitted to the IRS shall clearly indicate the following:

A. Contract Number for which the information is being submitted;
B. Complete delivery address including the organization’s name;
C. Point of Contact; and
D. Other data or identification number as applicable (phone number, etc.).

D.3 Postage and Fees

All submittals and/or deliverables, including forms, reports, etc., shall be shipped on a “postage
paid” basis and not by COD (cash on delivery).

D.4 Method and Point of Delivery

The Contractor/Expert is required to present all written deliverables to the COR by certified,
registered, or overnight mail or by other reputable and traceable express delivery service. All
deliverables shall be packaged and sent in accordance with instructions provided below:

                              MAILING INSTRUCTIONS

Documents and media shall be transmitted by a traceable and receipted manner. It shall be double
wrapped with the outer wrapper addressed to the recipient and marked "DO NOT FORWARD - IF
UNDELIVERABLE TO ADDRESSEE, RETURN TO SENDER" and "TO BE OPENED BY
ADDRESSEE ONLY". The inner wrapper shall be addressed to an individual and marked with the
CONTRACT NUMBER and "TO BE OPENED BY ADDRESSEE ONLY". The package shall to
be securely wrapped to avoid breakage.

The COR’s name and express package delivery address are provided below:

Internal Revenue Service
Attn: Tim Tuey
450 Golden Gate Avenue, MS-6107
San Francisco, CA 94102-3661

Phone: 415-837-6475     Email: tim.tuey@irs.gov




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The POC’s name and express package delivery address are provided below:

Internal Revenue Service
Attn: Eli Hoory
SE:LB:IN:TPO: M3-370
801 9th Street, NW
Washington, DC 20001

Phone: 202-515-4315      Email: eli.hoory@irs.gov


D.5 Media Type for Reports and Deliverables

Drafts of spreadsheets, charts, reports, or other submissions, if any, prepared by the Contractor
shall be prepared by the Contractor following the procedures and in the format(s) specified by the
POC (format options to include, as selected by the POC, either electronic file format specified by
the POC or hardcopy format or both).

Hardcopy deliverables, unless otherwise requested by the POC, shall, be printed in permanent,
laser quality black letter printing using Arial font in size 12 point print. Paper used in the report
shall be white 20 lb. to 25 lb. “weight” with a minimum “brightness” of 90. Copies of all reports
shall be professionally bound. Colored print and colored exhibits may be utilized for enhancement
and/or to provide emphasis as deemed professionally appropriate.

D.6 Digital Media – FIPS 140-2 Encryption Required

All deliverables provided in a digital format shall be encrypted in accordance with Federal
Information Processing Standard (FIPS) 140-2 (for example, using SecureZIP® data security &
file compression software).




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                  SECTION E – Inspection and Acceptance

E.1 52.252-2 CLAUSES INCORPORATED BY REFERENCE (FEB 1998)

This contract incorporates one or more clauses by reference, with the same force and effect as if
they were given in full text. Upon request, the CO will make their full text available. Also, the full
text of a clause may be accessed electronically at this/these
address(es): https://www.acquisition.gov/far

NUMBER          TITLE                                                        DATE
52.246-4       Inspection of Services—Fixed-Price                          (Aug 1996)


                                (End of clause)




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                                      SECTION F

F.1 52.252-2 CLAUSES INCORPORATED BY REFERENCE (FEB 1998)

This contract incorporates one or more clauses by reference, with the same force and effect as if
they were given in full text. Upon request, the CO will make their full text available. Also, the full
text of a clause may be accessed electronically at this/these
address(es): https://www.acquisition.gov/far

NUMBER         TITLE                                                          DATE

52.242-15      STOP-WORK ORDER                                                (AUG 1989)
52.242-17      GOVERNMENT DELAY OF WORK                                       (APR 1984)

                                           (End of clause)

F.2 Quality Assurance

The Service will monitor the performance of the Contractor through discussions with the
Contractor, review of required reports, and direct observation of the Contractor’s performance.
The Service will assess the performance of the Contractor in accordance with the performance
standards set forth in this work statement. The Contractor must meet the work requirements set out
in Section C – Performance Requirements for said phase before final payment is made for that
phase.

       QUALITY ASSURANCE SURVEILLANCE PLAN (QASP) – [Required]
Introduction

This Quality Assurance Surveillance Plan has been developed pursuant to the requirements of the
Performance Work Statement associated with this Contract. The QASP sets forth guidelines that
will be used in evaluating the technical performance of the Contractor 1, John Quinn, and
Contractor 2, John Gordon. The procedures set forth in the QASP are not contractually binding on
the IRS or on the Contractor. The Contractor shall be provided a copy of the QASP for
informational purposes.

Roles and Responsibilities of Service Officials

The following Service officials will participate in assessing the quality of the Contractor’s
performance. Their roles and responsibilities are described as follows:

   1. The Contracting Officer’s Representative (COR) is Tim Tuey.

   2. The IRS person assigned primary responsibility for and assigned to be the Contractor’s
      Point-of-Contact (POC) under this Contract for the subject issue is Eli Hoory.




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   3. The POC and COR will be responsible for reviewing, observing, assessing, and reporting
      the technical performance of the Contractor. All liaisons between the POC and AWSS
      Procurement shall be coordinated with the COR.

   4. Cheryl Richardson will serve as the Contracting Officer (CO) and will have overall
      responsibility for overseeing the Contractor’s performance in the areas of contract
      compliance, contract administration, cost control, reviewing the POC and/or COR
      assessment of the Contractor’s performance, and resolving all differences between the
      POC and/or COR version and the Contractor’s version.

Primary Methods of Surveillance

       •   100 Percent Inspection
       •   Validated Customer Complaints

Acceptable Quality Level (AQL)

       1. The AQL for all services and deliverables is 100%. The Contractor either is or is not in
          compliance with the specification. The “Final Reports” shall be:
             a. Prepared in accordance with generally acceptable standards.
             b. Printed in permanent, laser quality black letter printing using Arial font in size
                 12 print to include any associated exhibits and attachments. Paper used in the
                 report shall be white 20 lb. to 25 lb. “weight” with a minimum “brightness” of
                 90.
             c. Signed by the principle Contractor/Expert(s) and all supporting
                 Contractor/Experts responsible for developing the opinion and shall include
                 copies of their professional resumes.
             d. Delivered as three original professionally bound copies and one unbound copy.

Population (Lot size): Not applicable

Level of Surveillance: Not applicable

Sampling procedures: Each work requirement will be evaluated when provided.

Evaluation Procedures:

The Service will monitor the performance of the Contractor through direct, documented
observations of the Contractor’s performance, where appropriate; through discussions with the
Contractor; and through review of reports and other documents required by the contract.

The POC and/or COR may utilize “Surveillance Activity Checklists” to document the
Contractor’s performance as services and deliverables are provided. Any complaints received will
be documented and validated. . – See Section J.

F.3 Analysis of Results of Performance Surveillance


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                           a.      The COR will assess work performance in accordance with the
                                   performance standards set forth in the Performance Work
                                   Statement (PWS) and the surveillance methods described herein
                                   and maintain a written record of the assessment as services and
                                   deliverables are provided.

                           b.      Recommended payment reductions will be taken in accordance
                                   with the contract terms for all documented defects and will be
                                   calculated as required.

                           c.      The COR will monitor the Contractor’s overall performance and
                                   recommend appropriate administrative actions to the
                                   Contracting Officer when performance is less than satisfactory.

F.4 Period of Performance

The period of performance of this Contract begins on the execution date of this Contract and
expires in accordance with this Contract based on the date of settlement and/or final disposition of
the taxpayer case Period of Performance Date of Award thru 12/31/16. Although all four phases
are non-severable, it is the unilateral right of the Government to exercise option phases in
accordance with contract terms. The period of performance is dependent on the litigation schedule
of the government, the Court’s scheduling order, Settlement and/or final disposition of the
Taxpayer case, not to exceed five years, whichever is later.

F.5. Contract Term

  The contract term shall cover the furnishing of the supplies and services described in the
Schedule, from the date of award for an estimated term of 18 months

F.6 Deliverables

Deliverables include the following:

       •   Verbal reporting of the Expert’s facts, conclusions and findings to Client and, if desired
           by Client, written report(s).
       •   Draft and final expert reports,
       •   Workpapers and other documentation associated with the requirements of the contract,
       •   Bi-weekly status reports or as required

Method and Point of Delivery

The Contractor shall present all written deliverables to the POC or COR (as instructed) using the
delivery option specified by the POC or COR, the Service’s choice of delivery options to include,
but not be limited by, the following: (i) certified or registered overnight mail, (ii) other reputable
and traceable express overnight delivery service, (iii) secure electronic means specified by the


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 POC or the Case Manager, (iv) hand delivery, or (iv) a combination of the foregoing delivery
 methods.

 All deliverables shall be packaged and sent in accordance with instructions provided in Section D
 – unless otherwise directed by the COR.

 Delivery Schedule

 Delivery time in the schedule below is based upon calendar days unless otherwise specified.

Period of Performance                             Award Date through End of Contract
ITEM                                              DELIVERY TIME
Phase 1:
a. Preliminary Meeting                            a. As mutually agreed upon between POC, COR
                                                  and Contractor, but, unless otherwise agreed to
                                                  by POC and COR, no later than 10 days after
                                                  Contractor 2 receives interim SBU access.

b. Additional meetings or conference calls with b. As mutually agreed upon between POC and
the Service                                     Contractor.

c. Meeting or conference call to Discuss Analysis c. As mutually agreed upon between POC and
To-Date                                           Contractor, but not later than July 8, 2014 unless
                                                  otherwise agreed by POC and COR
d. Detailed Briefing by Key Personnel (initial     d. As mutually agreed upon between POC and
delivery)                                         Contractor, but not later 90 days after Contractor
                                                  2 receives interim access from the National
                                                  Background Investigation Center unless
                                                  otherwise agreed by POC and COR.
e. Detailed Briefing by Key Personnel (repeat e. As mutually agreed upon between POC and
briefings if requested by Service)                Contractor.
f. Additional Contractor Services                 f. As mutually agreed upon between POC, COR
                                                  and Contractor.
g. Phase 1 Completion Date                        g. As mutually agreed upon between POC, COR
                                                  and Contractor, but, unless otherwise agreed to
                                                  by POC and COR, no later than 60 days after the
                                                  point in time when the case is successfully
                                                  resolved with the Taxpayer or when the case
                                                  leaves LB&I’s jurisdiction
    Period of Performance                         December 31, 2015
    Monthly Status Report                         On the 10th of each month

Resubmission of contract deliverable due to       As mutually agreed between COR and Contractor
error, omission, or deficiency                    not to exceed 10 days after notification of


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                                unacceptable deliverable, unless the COR agrees
                                to additional time is agreed to in writing.




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                                        SECTION G

G.1 DTAR 1052.201-70 CONTRACTING OFFICERS TECHNICAL
REPRESENTATIVE (COTR) APPOINTMENT AND AUTHORITY (APR 2004)

(a) The Contracting Officer’s technical representative is

Internal Revenue Service, Large Business and Int'l-Lb&I, Deputy Comm (Domestic),
Natural Resources & Construct, Director Engineering, Terr 11 Engineers-San Fran, 450
Golden Gate Ave, 450 Golden Gate Ave, CA 94102-3661.

Prime COTR : Mr. Tim Tuey @ (415) -837-6475

(b) Performance of work under this contract shall be subject to the technical direction of the
COTR identified above, or a representative designated in writing. The term "technical
direction" includes, without limitation, direction to the Contractor that directs or redirects the
labor effort, shifts the work between work areas or locations, fills in details and otherwise
serves to ensure that tasks outlined in the work statement are accomplished satisfactorily.

(c) Technical direction must be within the scope of the specification(s)/work statement. The
COTR does not have authority to issue technical direction that:

(1) constitutes a change of assignment or additional work outside the specification(s)/work
statement;
(2) constitutes a change as defined in the clause entitled "Changes";
(3) in any manner causes an increase in the contract price, or the time required for contract
performance;
(4) changes any of the terms, conditions, or specification(s)/work statement of the contract;
(5) interferes with the Contractor’s right to perform under the terms and conditions of the
contract; or,
(6) directs, supervises or otherwise controls the actions of the contractor’s employees.

(d) Technical direction may be oral or in writing. The COTR shall confirm oral direction in
writing within five work days, with a copy to the contracting officer.

(e) The Contractor shall proceed promptly with performance resulting from the technical
direction issued by the COTR. If, in the opinion of the Contractor, any direction of the COTR,
or his/her designee, falls within the limitations in (c), above, the Contractor shall immediately
notify the contracting officer no later than the beginning of the next Government work day.

(f) Failure of the Contractor and the contracting officer to agree that technical direction is
within the scope of the contract shall be subject to the terms of the clause entitled "Disputes."




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G.2. CONTRACTING OFFICER

The CO for administration of this contract is:

Internal Revenue Service, Office of Business Operations, Area Field Procurement
Operations - Northeast, Attn: Cheryl Richardson, 290 Broadway - 3rd floor, New York, NY
10007- 1867

The telephone number for the Contracting Officer is: 212-436-1518.

The CO, in accordance with Subpart 1.6 of the Federal Acquisition Regulation, is the only person
authorized to make or approve any changes in any of the requirements of this contract, and
notwithstanding any clauses contained elsewhere in this contract. The said authority remains
solely with the CO. In the event the Contractor makes any changes at the direction of any person
other than the CO, the change will be considered to have been made without authority and no
adjustment will be made in the contract price to cover any increase in cost incurred as a result
thereof.

G.2.1 CONTRACTOR’S PROJECT MANAGER

A. The Contractor’s Project Manager(s) assigned to this project is (are):

Name:                 Mr. Christopher Tayback, Partner

Address:              865 South Figueroa Street, 10th Floor
                      Los Angeles, CA 90017

Email:                christayback@quinnemanuel.com

Telephone No.:        (213) 443-3170

G.2.3 CONTRACTOR’S KEY PERSONNEL

(“Key Personnel” and “Contractor’s Project Manager” are often not the same person. The Key
Personnel, below should also be in Section B. under line items)

NAME OF KEY PERSONNEL:

(1) Partner (Key Expert/Contractor 1) - John Quinn
(2) Partner (Key Expert/Contractor 2) - John Gordon
(3) Partner – Jeremy Anderson
(4) Associate(s) - Noah Helpern; Ryan Keech
(5) Paralegal – Carol O’Connor

B. The individuals named above is/are proposed to work on this project or case and is/are the Key
Personnel assigned under this contract. This/these individual(s) are considered essential to the



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work being performed under this contract. If this individual(s) leaves the Contractor's
employment or is reassigned to other programs, the Contractor shall notify the CO or COTR
reasonably in advance and shall submit justification (including proposed substitutions) in
sufficient detail to permit evaluation of the impact on the program. No diversion or replacement
shall be made by the Contractor without the written consent of the CO.

C. Changes or substitutions in the Key Personnel assigned and/or to the technical work statement
and any accepted technical proposal is prohibited, unless prior written approval from the CO is
obtained. Failure to comply with this requirement will result in nonpayment for services that are
provided by the unauthorized key personnel or that are the result of technical changes.

G.3 INVOICES

G.3.1 INVOICING PROCEDURES

A. To ensure prompt payment of invoices and to assist the Government in accounting for services
provided by the Contractor, the Contractor shall provide a proper invoice every month during the
term of this Contract; whether or not work is performed in such month. The invoice shall reflect
all work performed during the month the invoice is submitted except for work performed after
submittal of the invoice, which work shall be reflected on the invoice submitted the following
month. A proper invoice at a minimum shall contain the elements prescribed in the clause at
52.232-25 PROMPT PAYMENT, Alternate 1 (see Section I Clauses Incorporated by Reference, of
this contract). A redacted portion of that clause, setting forth required elements of a proper invoice
is provided below:

(i) Name and address of the Contractor.
(ii) Invoice date and invoice number. (The Contractor should date invoices as close as possible to
the date of the mailing or transmission.)
(iii) Contract or purchase order number, including contract line item number.
(iv) Name and address of Contractor official to whom payment is to be sent (must be the same as
that in the contract or in a proper notice of assignment).
(v) Name (where practicable), title, phone number, email, fax number and mailing address of
person to notify in the event of a defective invoice.
(vi) Taxpayer Identification Number (TIN). The Contractor shall include its TIN on the invoice
only if required elsewhere in this contract.
(ix) Electronic funds transfer (EFT) banking information.

B. Proper invoice requirement includes also: description, quantity, unit of measure, unit price and
extended price of supplies delivered or services performed.

Basically the invoice should be a replica of the purchase/contract order received for performance.

An invoice that includes undelivered supplies or unperformed services will be considered
improper. The Prompt Payment Act requires all improper invoices be returned to vendor unpaid.
Invoices returned for undelivered supplies and /or unperformed services may be resubmitted if one
of the following conditions is met.



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   1. All supplies referenced have been delivered and /or all relevant services been performed.
   2. The invoice has been changed to reflect only delivered supplies and/or performed services
G.3.1 1052.232-7003: Electronic Invoicing and Payment Requirements for the Invoice
Processing Platform (IPP)                                                       (Aug 2012)

The U.S. Department of the Treasury, Financial Managements Internet Payment Platform (IPP) is
a government-wide electronic payment information service that replaces the Payment Advice
Internet Delivery (PAID) system. IPP allows vendors to receive their remittance information from
their financial institution. Effective October 31, 2008, IPP replaced the PAID system. Former
PAID users have been automatically migrated to IPP and need to complete the initial provisioning
process from the new user ID, temporary password, and web address sent by Treasury. This is
necessary in order to log in to the IPP and view or download payment information. New vendors
may register on-line at https://ipp.gov. For additional information, refer to the IPP Customer
Support at (866) 973-3131.

The IPP will continue to support the following notification services previously offered by PAID:
Web access only to remittance data, no payment notification emails sent, payment notification
without remittance detail, and payment notification with remittance detail. Users may select
event-driven notifications and schedule the frequency. Vendors can only access their own payment
data. IPP remittance information includes the following data: ACH trace number, supplier name,
agency name, payment status, issue date, invoice number, PO number, invoice amount, discount
amount, payment amount, bank name, and bank address. The IPP will collect payment data for 18
months, which will be available for search, display and download. Payment information will be
uploaded to the IPP daily from Treasury systems on the date of payment.

                                            (End of Clause)

IR1052.232-7003 Electronic Invoicing and Payment Requirements for the Invoice
Processing Platform (IPP) (AUG 2012):

Include in: (a) all solicitations, contracts, blanket purchase agreements (excluding “N” type
BPAs), task orders, delivery orders, and purchase orders issued or awarded on or after October 1,
2012; (b) all solicitations (for other than indefinite delivery contracts) released in Fiscal Year 2012
in which the initial or base period of performance in the resulting contract, agreement, or order will
have an effective date on or after October 1, 2012; and (c) all existing indefinite delivery contracts
where either task orders or delivery orders will be issued or awarded with an effective date on or
after October 1, 2012. This clause also includes a waiver form that should be utilized in certain
circumstances as described in paragraph (f) of this clause.

ELECTRONIC INVOICING AND PAYMENT REQUIREMENTS FOR THE
INVOICE PROCESSING PLATFORM (IPP) (AUG 2012)

(a) Definitions:




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"Short payment" as used in this clause means an invoice that includes the cost or price for supplies
or services delivered or performed, as well as the cost or price for supplies or services not yet
tendered to the Government in accordance with the terms of the contract, order or agreement.
“Short payment” example: The contract requires the delivery of a set number of items, with the
price, delivery location, and delivery due date also specified. The vendor delivers 50% of the
items as specified but invoices for 100% of the items. Before implementation of the IPP, the IRS
would have paid the vendor for the items delivered and instructed the vendor to re-invoice the IRS
when the balances of the items were delivered. In other words, the IRS would "short pay" the
invoice since the IRS did not remit payment for the full invoice amount. With implementation of
the IPP, the IRS can no longer do this because the IRS cannot accept an electronic invoice that
includes items not yet received. The IRS will reject the invoice. The vendor needs to submit an
invoice for only the items received by the IRS (in this case, 50%), and, assuming that these items
meet all other contract terms and conditions, the IRS will pay the invoiced amount. The vendor
submits subsequent invoice(s) for items as they are delivered and accepted.

(b) The Invoice Processing Platform (IPP) is a secure Web-based electronic invoicing and payment
information service available to all Federal agencies and their suppliers. Effective October 1,
2012, invoicing for payment through the IPP will be mandatory for all new contract awards.
Additional information regarding the IPP may be found at the IPP website address
https://www.ipp.gov. Contractors must complete the contractor point of contact information
below, and submit it with their proposal submissions. Contractors may contact the IPP Helpdesk
for assistance via e-mail at ippgroup@bos.frb.org or via phone at (866) 973-3131. Once a contract
award has been made, the contractor will be contacted by the IPP via e-mail to set-up an account.
It will be necessary for contractors to login to their IPP accounts every 90 days to keep their IPP
accounts active.

(c) Contractor Point of Contact Information

Contractor Name: Quinn Emanuel Urquhart & Sullivan, LLP

Contractor IPP Point of Contact Name: Christopher Tayback

Contractor Phone Number: 213-443-3170
Contractor E-mail Address: christayback@quinnemanuel.com

(d) Electronic Invoicing and Payment Requirements

Vendor invoices submitted electronically through the IPP should be in the proper format and
contain the information required for payment processing. In order to be approved for payment, a
“proper invoice” must list the items specified in FAR 52.232-25 (a)(3)(i) through (a)(3)(x), or in
the case of a Commercial Item Contract, the items included in 52.212-4(g)(1)(i) through (g)(1)(x).
– See G3.1 above

Under this contract, the following documents are required to be submitted as an attachment to the
invoice (Any Expenditures above the threshold requirement)):
(e) Payment and Invoice Questions



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For payment and invoice questions, contact the Beckley Finance Center at (304) 254-3372 or via
e-mail at cfo.bfc.ipp.customer.support@irs.gov.
(f) Waiver

If the Contractor is unable to use the IPP for submitting payment requests starting on October 1,
2012, then a waiver form must be completed and submitted with the contractor’s proposal
submission for review and approval by the Contracting Officer based on one of the conditions
listed in the waiver form included as Attachment 1 to this clause. The vendor will be notified prior
to award as to whether their request for waiver has been approved or denied. If the waiver is
granted, then a copy of the waiver must be submitted with each paper invoice that the vendor
submits to the payment office or the invoice will be returned.

(g) Short Payment

Short payment on vendor submitted invoices will no longer be processed or paid. If any portion of
the invoice does not meet the requirements for a proper invoice, the entire invoice shall be rejected
and returned to the vendor unpaid.

                                  (End of Clause)

The Contractor’s proper invoice shall also be submitted as follows:

One copy shall be submitted to the COTR for receipt and acceptance purposes. (see Section
G.1(a) respectively).

INFORMATION COPY OF INVOICES

For informational purposes, a copy of each invoice shall be sent to the IRS CO: (see Section G.2)

G.3.2 PAYMENT INQUIRIES

These inquiries should be directed to the designated IRS COTR. (See Section G.1, above).

G.3.3 FINAL INVOICE REQUIREMENT

A. As stated above, the period of performance of this Contract begins on the execution date of this
Contract and expires as specified in Section F.3, above. Prior to the expiration of the Contract, the
Contractor will be notified in writing by the CO of the date the Contractor’s services will no longer
be required. The Contractor shall then submit the final invoice for previously unbilled, costs and
expenses incurred through the date specified in the notification.

B. The final invoice shall be submitted within 10 days from receipt date of notification unless
another reasonable due date is agreed to between the Contractor and the CO.

C. The Contractor shall mark the last invoice submitted under the Order as "FINAL INVOICE".



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G.3.4 DISPUTED/IMPROPER/UNAPPROVED INVOICES

Any disputed, improper, and/or unapproved invoice(s) will be returned, with a written explanation
from the COTR or Technician at the Paying Office, to the Contractor.




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                                          SECTION H

H.1 IR1052.204-9001 IDENTIFICATION/BADGING REQUIREMENTS (MARCH 1998)

During the period of this contract, access to IRS facilities for Contractor representatives shall be
granted as deemed necessary by the Government. All Contractor employees whose duties under
this contract require their presence at any Treasury, or Treasury bureau, facility shall be clearly
identifiable by a distinctive badge furnished by the Government. In addition, corporate
identification badges shall be worn on the outer garment at all times. It is the sole responsibility of
the Contractor to provide this corporate identification. Upon the termination of the employment of
any Contractor personnel working on this contract, all Government furnished identification shall
be returned to the issuing office. All on-site Contractor personnel shall abide by security
regulations applicable to that site.

[End of clause]

H.2 IR1052.224-9000(a) Disclosure of Information-Safeguards (JANUARY 1998)

In performance of this contract, the Contractor agrees to comply and assume responsibility for
compliance by his/her employees with the following requirements:

(1) All work shall be performed under the supervision of the Contractor or the Contractor's
responsible employees.

(2) Any return or return information made available shall be used only for the purpose of carrying
out the provisions of this contract. Information contained in such material shall be treated as
confidential and shall not be divulged or made known in any manner to any person except as may
be necessary in the performance of the contract. Inspection by or disclosure to anyone other than
an officer or employee of the Contractor shall require prior written approval of the Internal
Revenue Service. Requests to make such inspections or disclosures should be addressed to the
IRS Contracting Officer.

(3) Should a person (Contractor or subcontractor) or one of his/her employees make any
unauthorized inspection(s) or disclosure(s) of confidential tax information, the terms of the
Default clause (FAR 52.249-8), incorporated herein by reference, may be invoked, and the person
(Contractor or subcontractor) will be considered to be in breach of this contract.

[End of Clause]

H.3 IR1052.224-9000(b) Disclosure of Information--Safeguards (JANUARY 1998)

In performing the services described herein, the Contractor agrees to comply and assume
responsibility for compliance by his/her employees with the following requirements:




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(1) The films or photo impressions and reproductions made there from shall be used only for the
purpose of carrying out the provisions of this contract and information contained in such material
shall be treated as confidential and shall not be divulged or made known in any manner to any
person except as may be necessary in the performance of the contract.
(2) All the services shall be performed under the supervision of the Contractor or his/her
responsible employees.

(3) All material received for processing and all processed and reproduced material shall be kept in
a locked fireproof compartment in a secure place when not being worked upon.

(4) All spoilage of reproductions made from the film or photo impressions supplied to the
Contractor shall be destroyed and a written statement under the penalties of perjury shall be
submitted to the Contracting Officer that such destruction has been accomplished.

(5) All film, photo impressions, and reproductions made there from shall be submitted to the
Internal Revenue Service by personal delivery, express mail, first-class mail, parcel post, or
bonded carrier.

(6) Inspection by or disclosure to anyone other than an officer or employee of the Contractor shall
require prior written approval of the Internal Revenue Service. Requests to make such inspection
or disclosure shall be addressed to the Contracting Officer.

(7) Should the Contractor or one of his/her employees make any unauthorized inspection(s) or
disclosure(s) of confidential tax information, the terms of the Default clause (FAR-52.249-8),
incorporated herein by reference, may be invoked, and the Contractor will be considered to be in
breach of this contract.

[End of Clause]

H.4 IR1052.224-9000(c) Disclosure of Information--Safeguards (NOVEMBER 2005)

In performance of this contract, the Contractor agrees to comply with and assume responsibility
for compliance by his/her employees with the following requirements:

(1) All work shall be performed under the supervision of the Contractor or the Contractor's
responsible employees.

(2) Any return or return information made available in any format shall be used only for the
purpose of carrying out the provisions of this contract. Information contained in such material shall
be treated as confidential and shall not be divulged or made known in any manner to any person
except as may be necessary in the performance of the contract. Inspection by or disclosure to
anyone other than an officer or employee of the Contractor shall require prior written approval of
the Internal Revenue Service. Requests to make such inspections or disclosures should be
addressed to the IRS Contracting Officer.




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(3) All returns and return information will be accounted for upon receipt and properly stored
before, during, and after processing. In addition, all related output shall be given the same level of
protection as required for the source material.

(4) The Contractor certifies that the data processed during the performance of this contract shall be
completely purged from all data storage components of his/her computer facility and no output
will be retained by the Contractor at the time the IRS work is completed. If immediate purging of
all data storage components is not possible, the Contractor certifies that any IRS data remaining in
any storage component will be safeguarded to prevent unauthorized inspection or disclosure.

(5) Any spoilage or any intermediate hard copy printout which may result during the processing of
IRS data shall be given to the IRS Contracting Officer or his/her designee. When this is not
possible, the Contractor will be responsible for the destruction of the spoilage or any intermediate
hard copy printouts and shall provide the IRS Contracting Officer or his/her designee with a
statement containing the date of destruction, description of material destroyed, and the method
used.

(6) No work involving information furnished under this contract will be subcontracted without the
specific approval of the IRS Contracting Officer.

(7) All computer systems, processing, storing and transmitting tax data must meet or exceed
Controlled Access Protections (CAP) wherein the operating security features of the system have
the following minimum requirements: (a) an approved security policy; (b) accountability; (c)
assurance; and (d) documentation.

(8) Should a person (Contractor or subcontractor) or one of his/her employees make any
unauthorized inspection(s) or disclosure(s) of confidential tax information, the terms of the
Default clause (FAR 52.249-8), incorporated herein by reference, may be invoked, and the person
(Contractor or subcontractor) will be considered to be in breach of this contract.

(9) [Include any additional safeguards that may be appropriate.]

                                         [End of Clause]

H.5 IR1052.224-9000(d) Disclosure of "Official Use Only" Information Safeguards (MAR
2008)

Any Treasury Department Information made available or to which access is provided, and which is
marked or should be marked "Official Use Only", shall be used only for the purpose of carrying
out the provisions of this contract and shall not be divulged or made known in any manner to any
person except as may be necessary in the performance of the contract. Disclosure to anyone other
than an officer or employee of the Contractor or subcontractor at any tier shall require prior written
approval of the IRS. Requests to make such disclosure should be addressed to the IRS Contracting
Officer.

                                   [End of Clause]



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H.6 IR1052.224-9001(a) Disclosure of Information--Criminal/Civil Sanctions (JAN 1998)

(1) Each officer or employee of any person (Contractor or subcontractor) at any tier to whom
returns or return information is or may be disclosed shall be notified in writing by the person
(Contractor or subcontractor) that returns or return information disclosed to such officer or
employee can be used only for a purpose and to the extent authorized herein, and that further
disclosure of any such returns or return information for a purpose or to an extent unauthorized
herein constitutes a felony punishable upon conviction by a fine of as much as $5,000 or
imprisonment for as long as five years, or both, together with the costs of prosecution. Such
person (Contractor or subcontractor) shall also notify each such officer and employee that any such
unauthorized future disclosure of returns or return information may also result in an award of civil
damages against the officer or employee in an amount not less than $1,000 with respect to each
instance of unauthorized disclosure plus in the case of willful disclosure or a disclosure which is
the result of gross negligence, punitive damages, plus the cost of the action. These penalties are
prescribed by IRC Sections 7213 and 7431 and set forth at 26 CFR 301.6103(n)-1.

(2) Each officer or employee of any person (Contractor or subcontractor) to whom returns or
return information is or may be disclosed shall be notified in writing by such person that any return
or return information made available in any format shall be used only for the purpose of carrying
out the provisions of this contract and that inspection of any such returns or return information for
a purpose or to an extent not authorized herein constitutes a criminal misdemeanor punishable
upon conviction by a fine of as much as $1,000.00 or imprisonment for as long as 1 year, or both,
together with the costs of prosecution. Such person (Contractor or subcontractor) shall also notify
each such officer and employee that any such unauthorized inspection of returns or return
information may also result in an award of civil damages against the officer or employee in an
amount equal to the sum of the greater of $1,000.00 for each act of unauthorized inspection with
respect to which such defendant is found liable or the sum of the actual damages sustained by the
plaintiff as a result of such unauthorized inspection plus in the case of a willful inspection or an
inspection which is the result of gross negligence, punitive damages, plus the costs of the action.
The penalties are prescribed by IRC Sections 7213A and 7431.

(3) Additionally, it is incumbent upon the Contractor to inform its officers and employees of the
penalties for improper disclosure imposed by the Privacy Act of 1974, 5 U.S.C. 552a. Specifically,
5 U.S.C. 552a(I)(1), which is made applicable to Contractors by 5 U.S.C. 552a(m)(1), provides
that any officer or employee of a Contractor, who by virtue of his/her employment or official
position, has possession of or access to agency records which contain individually identifiable
information, the disclosure of which is prohibited by the Privacy Act or regulations established
there under, and who knowing that disclosure of the specific material is so prohibited, willfully
discloses the material in any manner to any person or agency not entitled to receive it, shall be
guilty of a misdemeanor and fined not more than $5,000.

                                    [End of Clause]

H.7 IR1052.224-9001(b) Disclosure of Information-Official Use Only (MAR 2008)




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Each officer or employee of the Contractor or subcontractor at any tier to whom "Official Use
Only" information may be made available or disclosed shall be notified in writing by the
Contractor that "Official Use Only" information disclosed to such officer or employee can be used
only for a purpose and to the extent authorized herein, and that further disclosure of any such
"Official Use Only" information, by any means, for a purpose or to an extent unauthorized herein,
may subject the offender to criminal sanctions imposed by 18 U.S.C. Sections 641 and 3571.
Section 641 of 18 U.S.C. provides, in pertinent part, that whoever knowingly converts to his use or
the use of another, or without authority sells, conveys, or disposes of any record of the United
States or whoever receives the same with the intent to convert it to his use or gain, knowing it to
have been converted, shall be guilty of a crime punishable by a fine or imprisoned up to ten years
or both.

                                              [End of Clause]

H.8 IR1052.224-9002 Disclosure of Information--Inspection (DECEMBER 1988)

The Internal Revenue Service shall have the right to send its officers and employees into the
offices and plants of the Contractor for inspection of the facilities and operations provided for the
performance of any work under this contract. On the basis of such inspection, the Contracting
Officer may require specific measures in cases where the Contractor is found to be noncompliant
with contract safeguards.

                                              [End of Clause]

H.9 IR1052.224-9005 Disclosure of Information (JANUARY 1998)

(a) I hereby certify that I will not disclose the identity of the taxpayer (living or deceased) or the
property or items to be valued, nor the results of any appraisal unless authorized in writing by the
Contracting Officer. I agree that, whether or not a contract is awarded to me, I will keep all
information confidential.

(b) If an IRS contract is awarded and it is necessary to allow inspection or to disclose confidential
information to perform under the contract, I will request, in writing, authorization from the IRS
Contracting Officer to make such inspection or disclosure.

                                    [End of Clause]

H.10 IR1052.224-9006 Nondisclosure of Information (JANUARY 1998)

(a) Except as provided elsewhere in this contract, the Contractor shall not disclose the identity of
the taxpayer or property being appraised, nor the results of the appraisal except to the individual
specified in this contract to receive the Contractor's report.

(b) Only those inspections or disclosures authorized in writing by the Contracting Officer may be
made, and only when it is clearly shown by the Contractor that such inspections or disclosures are
essential to successfully perform under this contract.



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(c) Should a person (Contractor or subcontractor) or one of his/her employees make any
unauthorized inspection(s) or disclosure(s) of confidential tax information, the terms of the
Default clause (FAR 52.249- 8), incorporated herein by reference, may be invoked, and the person
(Contractor or subcontractor) will be considered to be in breach of this contract.

                                      [End of Clause]

H.11 IR1052.224-9007 Authorization to Make Limited Disclosure (DECEMBER 1988)

The Contractor is authorized to disclose the name and address of the taxpayer and/or the legal
description of the property to courts of record or other sources when such disclosures are required
in order to adequately accomplish the appraisal. Additional disclosures may be made only when
authorized or directed by the Contracting Officer.

                                       [End of Clause]

H.12 IR1052-98-012 Nonpayment For Unauthorized Work

No payments will be made for any unauthorized supplies or services, or for any unauthorized
changes to the work specified herein. This includes any service performed by the Contractor of his
own volition or at the request of an individual other than a duly appointed Contracting Officer.
Only a duly appointed Contracting Officer is authorized to change the specifications, terms, and
conditions in this contract.

                                        [End of Clause]

H.13 Government's Price Ceiling

Services and/or materials in excess of the negotiated total estimated price in Section B are
provided at the Contractor's own risk. Additionally, the Contractor must immediately notify the
IRS COTR and the IRS CO when the price ceiling is 85% expended.

H.14 Travel Status, Meals and Incidental Expenses

The Contractor’s personnel may be required to travel to perform duties as specified in this
Contract.

The Service will be responsible for reimbursement of travel costs only when such travel costs have
been authorized in advance by the COR. Reimbursement shall be in accordance with FAR §
31.205-46 (Travel Costs) and current Federal Travel Regulations.

Authorized costs shall be itemized by the Contractor and submitted with supporting documents
(receipts, paid invoices, etc.) for reimbursement by the Service not to exceed the funding limitation
established by the Contracting Officer at time of contract award or through contract modification.




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TRAVEL EXPENSES

Travel expenses will be limited to travel and per diem expenses at rates established in the Federal
Travel Regulations for official Government travel. The Service reserves the right to determine
modes of transportation, routes, etc., for purposes of travel cost reimbursement.

If applicable in connection with the performance of the work set forth in this Contract, the
Contractor may be reimbursed actual cost of travel and subsistence expenses subject to the
following limitations:
1) Transportation costs may be based upon mileage rates, actual costs incurred, or combination
thereof, provided the method used results in a reasonable charge that does not exceed the mileage
rate in effect at the time of travel as set forth in the Federal Travel Regulations. The Service
reserves the right to determine the mode of transportation, routes, etc., for purpose of travel cost
reimbursement.

2) Costs incurred for lodging, meals, and incidental expenses, as defined in FAR 31.205-46, are
allowable only to the extent that they do not exceed on a daily basis, the maximum per diem rates
in effect at the time of travel as set forth in the Federal Travel Regulations prescribed by the
General Services Administration.

3) Travel and subsistence expenses are subject to the following:

A) A subsistence allowance covering reasonable expenditures for lodging and meals, not to exceed
applicable Government per diem rates per day.

B) Actual cost of public transportation, limited to less than first class.

C) Expenses for transportation by privately owned vehicle on a mileage basis at the current
standard Government rate, plus toll and ferry charges.

D) Cost of transportation from terminal to hotel, or terminal to either Service office, Federal
Courthouse, and Taxpayer locations.

E) Invoices must be itemized as to all expenses incurred. Each authorized travel and subsistence
expense exceeding $75.00 must be supported by a copy of paid receipt.

F) No reimbursement will be made for time spent in travel status.

TRAVEL STATUS, MEALS AND INCIDENTAL EXPENSES (M&IE)

For authorized travel, the allowable Federal Travel Regulation (FTR) M&IE calculations and costs
for authorized travel, if any, are explained and included with each authorized trip.

•Under the FTR, no receipts are required for allowable M&IE.
• The following additional FTR rules also apply to meals and incidental expenses for authorized
travel, if any:



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• No M&IE is allowable for travel status of 12 hours or less;

• For travel status exceeding 12 hours, the first day of travel and the last day of travel is each
limited to 75% of the allowable daily M&IE rate; and

• For travel status of more than 12 hours but less than 24 hours when no lodging is required, M&IE
is limited to 75% of the allowable daily M&IE rate.

• Use of privately owned vehicle (when use of POV is determined to be advantageous to the
Government) while on travel status under this contract will be reimbursed at the allowable FTR
current mileage rate.

TRAVEL STATUS, LODGING

For authorized travel, the traveler should request the Government rate (Department of Treasury)
when making lodging reservations (if hotel questions this, please have hotel call IRS CO). Legible
copies of lodging receipts are required for reimbursement, in any dollar amount. Taxes related to
lodging are reimbursed under miscellaneous travel expenses.

TRAVEL COSTS, RECEIPTS REQUIRED

Pursuant to the FTR, legible copies of receipts for any single travel-related expenditure
exceeding $75.00 are required for authorized travel.

TRAVEL COSTS, RECEIPTS NOT REQUIRED

Pursuant to the FTR, receipts are not required for any single travel-related expense, which is under
$75.00 (except for lodging and air/rail fare) for authorized travel. No receipts are required for
authorized privately owned vehicle mileage at the allowable FTR mileage rate.

ALLOWABLE DIRECT PROJECT, NON-TRAVEL COSTS, RECEIPTS

Legible copies of receipts are required for any, authorized allowable direct project, non-travel
items billed at cost, in any dollar amount, on the Contractor's invoices.

ALLOWABLE DIRECT PROJECT COSTS, RECEIPTS UNAVAILABLE

If any cost item billed under a Contractor's invoice requires a receipt and it is not furnished, then
the failure to do so must be fully explained with the invoice. Nonetheless, the Government
reserves the right to determine whether or not payment therefore is appropriate.

EXCEPTION TO PER DIEM MAXIMUM

In special or unusual situations, actual costs in excess of the above-referenced maximum per diem
rates are allowable, provided that such amounts do not exceed the higher amount authorized for



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Federal civilian employees as permitted in the Federal Travel Regulations. For such higher amount
to be allowable, justification must be received by the Contracting Officer, from the Contractor,
ensuring that the authority will be properly administered. If the higher expense method is to be
used, invoices must be itemized as to all expenses incurred. The Contractor must obtain advance
approval from the Contracting Officer prior to incurring costs in excess of the above-referenced
maximum per diem rates.

MISCELLANEOUS EXPENSES

The Contractor’s actual cost of miscellaneous expenses directly associated with contract
performance may be reimbursable. Expenses include, but are not limited to, postage, express mail,
facsimile, photocopying, online research, and outside research materials. A necessary and
reasonably priced expense is reimbursable, provided such expenses have been identified in
advance by the Contractor and authorized by the Contracting Officer. Expenses included in the
Contractor’s hourly rates(s) established in the Schedule, and considered a part of normal business
expense included in the Contractor’s overhead, or general and administrative rates are not
reimbursable.

H.15 Other Direct Costs

Includes: expenses for copies, telephone calls, express mailing service, printing costs, fax, data,
and mail. Expenses must be itemized on invoices, with legible copies of receipts attached.

H.16 Reimbursement for Contractor Services

A contractually binding labor-hour rate (or rates) shall be established for Contractor services to be
rendered under the requirements of Phase 1 and Phase 2. Payment will be made in accordance with
FAR 52.232-7, Alt. II, Payments Under Time-and-Materials and Labor-Hour Contracts. Work in
Phase 1 and Phase 2 shall be performed and billed on an hourly basis. The hourly rates are the
Contractor’s complete compensation, except for reimbursement of the Contractor’s cost of travel
or miscellaneous expenses authorized in advance by the Contracting Officer. Reimbursement of
Contractor’s Travel and Miscellaneous expenses will be made based upon the terms outlined
below above under H.14 Travel Status, Meals and Incidental Expenses.

H.17 5% Withholding On Payments for Services

Per FAR 52.232-7 Payments under Time-and-Materials and Labor-Hour Contracts:

(7) Unless otherwise prescribed in the Schedule, the Contracting Officer may unilaterally issue a
contract modification requiring the Contractor to withhold amounts from its
billings until a reserve is set aside in an amount that the Contracting Officer considers necessary to
protect the Government's interests. The Contracting Officer may require a
withhold of 5 percent of the amounts due under paragraph (a) of this clause, but the total amount
withheld for the contract shall not exceed $50,000. The amounts withheld shall be retained until
the Contractor executes and delivers the release required by paragraph (g) of this clause.




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H.18 Suspension and/or Cessation of Work

The COR or POC may notify the Contractor orally. This will be confirmed in writing via
modification to the order by the CO that all or part of the work called for by this contract shall be
suspended, or shall cease until further notice. Upon receipt of this notification, the Contractor
shall immediately suspend performance and incur no further expenses under this Contract.

The Contractor shall not resume work until instructed to do so by written notification from the CO.
In an emergency situation (after business hours or on a weekend), the COR or POC may issue this
notification orally, however the CO shall confirm such notification in writing within two business
days. If the CO does not confirm the oral notification within two business days than such oral
notification is rescinded.

H.19 Government-Furnished Property

Taxpayers’ returns and return information, records, documents, and other pertinent
data needed, for official use only, may be furnished to the Contractor by the Government's project
personnel, upon commencement of work under this Contract. This Government-furnished
property shall be returned to POC or COR, as directed, or destroyed upon completion of
performance of the Contract.

H.20 Conflict of Interest - Disclosure of Actual or Potential Conflicts of Interests and Need
for Written Informed Consent Prior to Representation

The Contractor shall immediately notify the COR and POC of any real or apparent conflicts of
interest and of any potential conflicts of interest.

A. The Contractor is a law firm that represents current clients in matters adverse to the Internal
Revenue Service or the U.S. Department of the Treasury that are unrelated to the scope of work
contemplated by this Contract and that create waiveable concurrent conflicts of interest under the
applicable rules of professional conduct for lawyers. Prior to representing the Service, the
Contractor must first obtain informed consent under the applicable rules of professional conduct,
including written informed consent from the Service (“IRS Informed Consent”), for all such
concurrent conflicts of interest. The parties contemplate that, if granted by the Service, the IRS
Informed Consent will, under terms agreeable to both the Service and the Contractor, waive
concurrent conflicts and also give the Contractor flexibility to represent clients in certain new
matters that may be adverse to the Service or the U.S. Department of the Treasury. Proposed
language for the IRS Informed Consent will be submitted to the Service by the Contractor and, if
agreeable to the Service, accepted by the Service in writing and returned to the Contractor. Until
the award of the Contract and the execution of the IRS Informed Consent, the Contractor and the
Service will have no obligations under this Contract including, but not limited to, providing
services or payment. If IRS Informed Consent is not granted by the Service to the Contractor
either prior to Contract award or within 180 days after Contract award, the Contract will be
terminated.




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B. Independent Judgment is an essential element of the Contractor’s performance under this
Contract. To ensure that the Contractor’s independence is not compromised, or that such
independence could not be reasonably challenged in litigation, the Contractor shall take all steps
necessary to avoid conflicts of interest, including taking steps to assure that it does not provide
services to other clients that would require the Contractor to take positions adverse or contrary to
the Government’s position in this case.

C. Prior to execution of the Contract, the contractor shall inform the Government of any client(s) it
is currently representing, or that it has represented in the past, for which a conflict of interest may
exist if the contractor were to provide services to the Government under this Contract. The
Contractor may also submit to the Government proposed remedial measures to mitigate such
conflicts. The Government will evaluate this information and decide whether the contractor’s
relationship or performance of services to other parties would prevent the contractor from
rendering services in an impartial, unbiased, and objective manner to the Government, or would
otherwise create a conflict of interest or potential conflict of interest. The Contractor’s failure to
provide this information to the Government prior to Contract award may be grounds for
termination for default should the government learn, during the Contract, of a conflict of interest
that the Contractor was required to bring to the Government’s attention under this clause.

D. Upon the award of the Contract and the execution of the IRS Informed Consent, the Contractor
is expected to fully perform all phases of the Contract during the pendency of the case that is the
subject of this Contract, unless otherwise directed by the Service. During performance of the
Contract, the Contractor is barred from providing services to any other parties in the case which is
the subject of this contract. In the event the Contractor performs services during the period of this
Contract to third parties, which the Service believes creates a conflict of interest or potential
conflict of interest, which is not permitted under the IRS Informed Consent that was granted, the
Service reserves the right to immediately terminate the Contract for default. In such event, the
Contractor will be liable to the Government for all monies previously paid to the Contractor under
the Contract, as well as additional costs incurred by the Service to re-procure Contractor services
in this matter.

E. Upon contract award, the Key Personnel represent to and commit to the following:

(1 ) During the pendency of the case that is the subject of this Contract, the Key Personnel will not
represent any taxpayer on a tax issue similar in nature to the types of issues that are the subject of
this Contract (transfer pricing or the tax treatment of business transactions or restructurings
between related parties);

(2) The Key Personnel do not have any existing engagements (engagements that a Key Personnel
is involved with at the time that this Contract is awarded) in which they represent a client before
the Internal Revenue Service or the Department of Treasury; and

(3) If either Key Personnel undertakes any new engagements (engagements that the Key Personnel
in question is not involved with at the time this Contract is awarded) that, if continued, could create
a conflict of interest that would disqualify the Key Personnel in question from being able to serve
as a special government employee during the pendency of the case that is the subject of this



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Contract, the Key Personnel in question will undertake the new engagement only if, prior to
undertaking the new engagement, he (a) informs the Service of the potential conflict and (b)
preserves his ability to withdraw from the new engagement so that, if requested to do so, he will be
able to serve as a special government employee in support of the case that is the subject of this
Contract. Furthermore, each Key Personnel represents that in the event he is asked to become a
special government employee in support of the case that is the subject of this Contract, he will
withdraw from any such new engagements in a timely manner to permit him to serve (or continue
to serve) as a special government employee.

(4) If either Key Personnel possesses or acquires any financial or other interest that could create,
under the federal ethics rules, a conflict of interest that would disqualify the Key Personnel in
question from serving as a special government employee during the pendency of the case that is
the subject of this Contract, the Key Personnel in question will take steps to resolve the conflict in
the event he is asked to become a special government employee.

H.21 Section 7602C Third Party Contact Procedures

Section 7602c of the Internal Revenue Code requires that contacts made with Third Parties during
the investigation/audit of a Federal Tax Return must be reported to the taxpayer. The COTR will
provide specific guidance to the Contractor regarding this legal requirement. Generally authorized
contacts with employees of the taxpayer are not Third Party Contacts. Likewise, contacts with
government agencies generally are not considered to be Third Party Contacts.

H.22 Security Escort Services

IRM 1.23.2.2.6.1, for security reasons, requires that Contractors or their employees must be
escorted by IRS employees when deemed appropriate in lieu of (a background) investigation. This
requirement applies when the Contractor is on IRS premises or on taxpayer premises.

H.23 Advertising of Award/Publicity Releases

During Contract performance and after Contract completion, the Contractor agrees not to refer to
the Contract award in commercial advertisements or other public notifications in such a manner as
to state or imply that the product or service is endorsed or preferred by the Government or is
considered by the Government to be superior to other products or services. All publicity releases
in connection with this Contract by the Contractor must have prior written approval from the IRS
Public Affairs Officer through the IRS Contracting Officer who awarded the contract. Violation of
this provision will be grounds, at the option of the Government, for termination of the Contract.

H.24 52.227-17 Rights in Data—Special Works (DECEMBER 2007)

(a) Definitions. As used in this clause—
“Data” means recorded information, regardless of form or the media on which it may be recorded.
The term includes technical data and computer software. The term does not include information
incidental to contract administration, such as financial, administrative, cost or pricing, or
management information.



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“Unlimited rights” means the rights of the Government to use, disclose, reproduce, prepare
derivative works, distribute copies to the public, and perform publicly and display publicly, in any
manner and for any purpose, and to have or permit others to do so.
(b) Allocation of Rights.
(1) The Government shall have—
(i) Unlimited rights in all data delivered under this contract, and in all data first produced in the
performance of this contract, except as provided in paragraph (c) of this clause.
(ii) The right to limit assertion of copyright in data first produced in the performance of this
contract, and to obtain assignment of copyright in that data, in accordance with paragraph (c)(1) of
this clause.
(iii) The right to limit the release and use of certain data in accordance with paragraph (d) of this
clause.
(2) The Contractor shall have, to the extent permission is granted in accordance with paragraph
(c)(1) of this clause, the right to assert claim to copyright subsisting in data first produced in the
performance of this contract.
(c) Copyright—
(1) Data first produced in the performance of this contract.
(i) The Contractor shall not assert or authorize others to assert any claim to copyright subsisting in
any data first produced in the performance of this contract without prior written permission of the
Contracting Officer. When copyright is asserted, the Contractor shall affix the appropriate
copyright notice of 1 7 U.S.C. 401 or 402 and acknowledgment of Government sponsorship
(including contract number) to the data when delivered to the Government, as well as when the
data are published or deposited for registration as a published work in the U.S. Copyright Office.
The Contractor grants the Government, and others acting on its behalf, a paid-up, nonexclusive,
irrevocable, worldwide license for all delivered data to reproduce, prepare derivative works,
distribute copies to the public, and perform publicly and display publicly, by or on behalf of the
Government.
(ii) If the Government desires to obtain copyright in data first produced in the performance of this
contract and permission has not been granted as set forth in paragraph (c)(1)(i) of this clause, the
Contracting Officer shall direct the Contractor to assign (with or without registration), or obtain
the assignment of, the copyright to the Government or its designated assignee.
(2) Data not first produced in the performance of this contract. The Contractor shall not, without
prior written permission of the Contracting Officer, incorporate in data delivered under this
contract any data not first produced in the performance of this contract and that contain the
copyright notice of 17 U.S.C. 401 or 402 , unless the Contractor identifies such data and grants to
the Government, or acquires on its behalf, a license of the same scope as set forth in paragraph
(c)(1) of this clause.
(d) Release and use restrictions. Except as otherwise specifically provided for in this contract, the
Contractor shall not use, release, reproduce, distribute, or publish any data first produced in the
performance of this contract, nor authorize others to do so, without written permission of the
Contracting Officer.
(e) Indemnity. The Contractor shall indemnify the Government and its officers, agents, and
employees acting for the Government against any liability, including costs and expenses, incurred
as the result of the violation of trade secrets, copyrights, or right of privacy or publicity, arising out
of the creation, delivery, publication, or use of any data furnished under this contract; or any
libelous or other unlawful matter contained in such data. The provisions of this paragraph do not



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apply unless the Government provides notice to the Contractor as soon as practicable of any claim
or suit, affords the Contractor an opportunity under applicable laws, rules, or regulations to
participate in the defense of the claim or suit, and obtains the Contractor’s consent to the settlement
of any claim or suit other than as required by final decree of a court of competent jurisdiction; and
these provisions do not apply to material furnished to the Contractor by the Government and
incorporated in data to which this clause applies.
(End of clause)

H.25 Contractor obligation to perform all Contract Phases

The phases of the Contract are interconnected and require seamless contractor performance
through settlement and/or final disposition of the taxpayer case. Each phase forms the basis for the
following phase and, therefore, failure to perform a phase of the Contract will reduce and/or
eliminate the value of work performed in previous phases. As such, if the Contractor(s) are unable
for any reason to perform all phases of the Contract, due to the Contractor’s fault, before
settlement and/or the final disposition of the taxpayer case, the Government will consider the
contractor to be in breach of the Contract and will seek recovery of all monies paid to the
contractor even for those services performed by the contractor as well as re-procurement costs to
obtain other expert services in the matter.




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                                    SECTION I
I.1 52.252-2 Clauses Incorporated by Reference (FEBRUARY 1998)

This Contract incorporates one or more clauses by reference, with the same force and effect as if
they were given in full text. Upon request, the Contacting Officer will make their full text
available. Also, the full text of a clause may be accessed electronically at this/these
address(es): https://www.acquisition.gov/far

Federal Acquisition Regulations (48 CFR Chapter 1) Clauses Incorporated by Reference

 FAR
 CLAUSE           TITLE                                                                  DATE
 NO.
 52.213-4         TERMS AND CONDITIONS--SIMPLIFIED ACQUISITIONS                          Jan 2014
                  (OTHER THAN COMMERCIAL ITEMS) (Jan 2014)
 52.203-6         Restrictions on Subcontractor Sales to the Government                  Sep 2006
 52.203-7         Anti-Kickback Procedures                                               Oct 2010
                  Cancellation, Rescission, and Recovery of Funds for Illegal or         Jan 1997
 52.203-8         Improper Activity
 52.203-10        Price or Fee Adjustment for Illegal or Improper Activity               Jan 1997
 52.203-12        Limitation on Payments to Influence Certain Federal Transactions       Oct 2010
 52.204-4         Printed or Copied Double-Sided on Recycled Paper                       May 2011
 52.204-7         System for Award Management                                            Jul 2013
 52.204-9         Personal Identity Verification of Contractor Personnel                 Jan 2011
 52.209-5         Certification Regarding Responsibility Matters                         Apr 2010
                  Protecting the Government’s Interest When Subcontracting with          Aug 2013
 52.209-6         Contractors Debarred, Suspended, or Proposed for Debarment
 52.215-2         Audit and Records—Negotiation                                          Oct 2010
 52.223-5         Pollution Prevention and Right to Know Information                     MAY 2011
 52.223-6         Drug Free Workplace                                                    MAY 2001
 52.224-1         PRIVACY ACT NOTIFICATION (APR 1984)                                    APR 1984
 52.224-2         PRIVACY ACT (APR 1984)                                                 APR 1984
 52.232-8         Discounts for Prompt Payment                                           Feb 2002
 52.232-9         Limitation on Withholding of Payments                                  April 1984
 52.232-17        Interest                                                               Oct 2010
 52.232-18        AVAILABILITY OF FUNDS (Apr 1984)                                       Apr 1984
 52.232-25        Prompt Payment                                                         Jul 2013
 52.232-33        Payment by Electronic Funds Transfer-System for Award                  Jul 2013
                  Management.
 52.233-1         Disputes                                                               July 2002
 52.233-4         Applicable Law for Breach of Contract Claim                            Oct 2004
 52.239-1         PRIVACY OR SECURITY SAFEGUARDS (AUG 1996)                              AUG 1996
 52.242-3         Penalties for Unallowable Costs                                        May 2001
 52.242-13        Bankruptcy                                                             July 1995


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 52.243-1         Changes—Fixed – Price                                                     Aug 1987
 52.245-1         Government Property                                                       Apr 2012
 52.246-25        Limitation of Liability—Services                                          Feb 1997
 52.249-14        Excusable Delays                                                          Apr 1984
 52.253-1         Computer Generated Forms                                                  Jan 1991


I.2 52.232-1 PAYMENTS (APRIL 1984)

The Government shall pay the Contractor, upon the submission of proper invoices or vouchers, the
prices stipulated in this contract for supplies delivered and accepted or services rendered and
accepted, less any deductions provided in this contract. Unless otherwise specified in this contract,
payment shall be made on partial deliveries accepted by the Government if—

(a) The amount due on the deliveries warrants it; or

(b) The Contractor requests it and the amount due on the deliveries is at least $1,000 or 50 percent
of the total contract price.

                                          (End of clause)


I.3 52.232-22 LIMITATION OF FUNDS (APRIL 1984)

   a) The parties estimate that performance of this contract will not cost the Government more than
(1) the estimated cost specified in the Schedule or, (2) if this is a cost-sharing contract, the
Government’s share of the estimated cost specified in the Schedule. The Contractor agrees to use
its best efforts to perform the work specified in the Schedule and all obligations under this contract
within the estimated cost, which, if this is a cost-sharing contract, includes both the Government’s
and the Contractor’s share of the cost.
  (b) The Schedule specifies the amount presently available for payment by the Government and
allotted to this contract, the items covered, the Government’s share of the cost if this is a
cost-sharing contract, and the period of performance it is estimated the allotted amount will cover.
The parties contemplate that the Government will allot additional funds incrementally to the
contract up to the full estimated cost to the Government specified in the Schedule, exclusive of any
fee. The Contractor agrees to perform, or have performed, work on the contract up to the point at
which the total amount paid and payable by the Government under the contract approximates but
does not exceed the total amount actually allotted by the Government to the contract.
  (c) The Contractor shall notify the Contracting Officer in writing whenever it has reason to
believe that the costs it expects to incur under this contract in the next 60 days, when added to all
costs previously incurred, will exceed 75 percent of (1) the total amount so far allotted to the
contract by the Government or, (2) if this is a cost-sharing contract, the amount then allotted to the
contract by the Government plus the Contractor’s corresponding share. The notice shall state the
estimated amount of additional funds required to continue performance for the period specified in
the Schedule.




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  (d) Sixty days before the end of the period specified in the Schedule, the Contractor shall notify
the Contracting Officer in writing of the estimated amount of additional funds, if any, required to
continue timely performance under the contract or for any further period specified in the Schedule
or otherwise agreed upon, and when the funds will be required.
  (e) If, after notification, additional funds are not allotted by the end of the period specified in the
Schedule or another agreed-upon date, upon the Contractor’s written request the Contracting
Officer will terminate this contract on that date in accordance with the provisions of the
Termination clause of this contract. If the Contractor estimates that the funds available will allow it
to continue to discharge its obligations beyond that date, it may specify a later date in its request,
and the Contracting Officer may terminate this contract on that later date.
  (f) Except as required by other provisions of this contract, specifically citing and stated to be an
exception to this clause—
(1) The Government is not obligated to reimburse the Contractor for costs incurred in excess of the
total amount allotted by the Government to this contract; and
(2) The Contractor is not obligated to continue performance under this contract (including actions
under the Termination clause of this contract) or otherwise incur costs in excess of—
          (i) The amount then allotted to the contract by the Government or;
(ii) If this is a cost-sharing contract, the amount then allotted by the Government to the contract
plus the Contractor’s corresponding share, until the Contracting Officer notifies the Contractor in
writing that the amount allotted by the Government has been increased and specifies an increased
amount, which shall then constitute the total amount allotted by the Government to this contract.
  (g) The estimated cost shall be increased to the extent that (1) the amount allotted by the
Government or, (2) if this is a cost-sharing contract, the amount then allotted by the Government to
the contract plus the Contractor’s corresponding share, exceeds the estimated cost specified in the
Schedule. If this is a cost-sharing contract, the increase shall be allocated in accordance with the
formula specified in the Schedule.
  (h) No notice, communication, or representation in any form other than that specified in
paragraph (f)(2) of this clause, or from any person other than the Contracting Officer, shall affect
the amount allotted by the Government to this contract. In the absence of the specified notice, the
Government is not obligated to reimburse the Contractor for any costs in excess of the total amount
allotted by the Government to this contract, whether incurred during the course of the contract or
as a result of termination.
  (i) When and to the extent that the amount allotted by the Government to the contract is increased,
any costs the Contractor incurs before the increase that are in excess of—
(1) The amount previously allotted by the Government or;
(2) If this is a cost-sharing contract, the amount previously allotted by the Government to the
contract plus the Contractor’s corresponding share, shall be allowable to the same extent as if
incurred afterward, unless the Contracting Officer issues a termination or other notice and directs
that the increase is solely to cover termination or other specified expenses.
  (j) Change orders shall not be considered an authorization to exceed the amount allotted by the
Government specified in the Schedule, unless they contain a statement increasing the amount
allotted.
  (k) Nothing in this clause shall affect the right of the Government to terminate this contract. If this
contract is terminated, the Government and the Contractor shall negotiate an equitable distribution
of all property produced or purchased under the contract, based upon the share of costs incurred by
each.



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 (l) If the Government does not allot sufficient funds to allow completion of the work, the
Contractor is entitled to a percentage of the fee specified in the Schedule equaling the percentage
of completion of the work contemplated by this contract.
                                       (End of clause)


I.4 52.232-99, Providing Accelerated Payment to Small Business Subcontractors
(DEVIATION)                                                             (AUG 2012)

The contracting officer shall insert the following clause in all solicitations and resultant
This clause implements the temporary policy provided by OMB Policy Memorandum M-12-16,
Providing Prompt Payment to Small Business Subcontractors, dated July 11, 2012.

      a. Upon receipt of accelerated payments from the Government, the contractor is required to
make accelerated payments to small business subcontractors to the maximum extent practicable
after receipt of a proper invoice and all proper documentation from the small business
subcontractor.
     b. Include the substance of this clause, including this paragraph (b), in all subcontracts with
         small business concerns.
     c. The acceleration of payments under this clause does not provide any new rights under the
         Prompt Payment Act.

I.5 IR1052.204-9003 – IRS Security Awareness Training Requirements

Include the following clause in solicitations, contracts, task/delivery/purchase orders, interagency
agreements, and BPAs that require contractors and contractor employees to have staff-like access
to IRS SBU information (electronic or paper-based) or information systems at an IRS facility or a
contractor-owned/managed facility.

IRS SECURITY AWARENESS TRAINING REQUIREMENTS (AUG 2010)

(a) The Federal Information Security Management Act of 2002 (FISMA) requires each federal
agency to provide periodic information security awareness training to all employees, including
contractors, involved in the management, use, or operation of Federal information and information
systems. In addition, IRS contractors and their employees are subject to the Taxpayer Browsing
Protection Act of 1997, which prohibits willful unauthorized inspection of returns and return
information. Violation of the Act could result in civil and criminal penalties.

(b) Contractors and their employees who require staff-like access to IRS information or
information systems at an IRS facility or a contractor-owned/managed facility shall complete IRS
security awareness training annually, as specified in the contract.1
NOTE: “IRS information” means Sensitive But Unclassified (SBU) information, as defined in
Internal Revenue Manual 10.8.1 – Policy and Guidance. SBU may be categorized in one or more
of the following groups—
         Returns and Return Information
         Sensitive Law Enforcement Information



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        Employee Information
        Personally Identifiable Information
        Other Protected Information

(c) The contractor shall ensure all contractor employees who require staff-like access to IRS
owned or controlled facilities, or IRS information or information systems, regardless of their
physical location, complete one or more Information Protection briefings on computer security,
disclosure, privacy, physical security, and/or UNAX, as specified by CSLP. Individually and
collectively, these briefings make up the IRS Security Awareness Training (SAT) requirements for
the Service’s information assets.
Personnel required to complete SAT include, but are not necessarily limited to, contractor
employees involved in any of the following activities:
         Manage, program or maintain IRS information in a production environment;
         Operate an information system on behalf of the IRS;
         Conduct testing or development of information or information systems on behalf of the
            IRS; or
         Provide advisory and assistance (consulting) services, or administrative support.
Unless otherwise provided under the terms of the immediate contract/order, contractor employees
in the following service categories with facilities access only who do not have access to IRS
workspace, or who work in buildings where a clean desk policy is in place for all IRS employees,
are not required to complete SAT–with the exception of Physical Security Training.:
         Medical;
         Cafeteria;
         Landscaping;
         Janitorial and cleaning (daylight operations);
         Building maintenance; or
         Other maintenance and repair.

(d) All new contractor employees shall receive a system security orientation within the first ten
(10) business days following initial assignment to any IRS contract/order, and IT security
awareness training (commensurate with the individual’s duties and responsibilities) within five (5)
business days of being granted access to an IRS IT system.

(e) For each contractor employee assigned to this contract/order, the contractor shall submit
confirmation of completed SAT (using the form at the Mandatory Briefing web site or upon email
request to CSLP at CSLP@irs.gov), via email, to the Contracting Officer's Technical
Representative (COTR) and the Contractor Security Lifecycle Program (CSLP) upon completion,
but not later than ten (10) business days of starting work on this contract/task order.

(f) Thereafter, each contractor employee assigned to this contract/order shall complete SAT
annually not later than April 30th of each year in which there
P&P No. 39.1(C) Attachment 3 Page 3 of 3 is an ongoing period of performance (in either the base
period or any exercised option period). The contractor shall submit confirmation of completed
annual SAT on all contractor employees assigned to this contract/order, via email, to the CO,
COTR, and the Contractor Security Lifecycle Program (CSLP) upon completion, or not later than
May 12th of the then current calendar year or as requested by CSLP (whichever date is earlier).



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(g) Contractors shall verify in writing within 30 days of award, and by May 12, of each year
thereafter or as requested by CSLP (whichever date is earlier), that all of their affected employees
have successfully completed the specified training. Verification reports shall be signed by an
official with the authority to legally bind the Contractor.

(h) SAT is available on the Mandatory Briefing web site or if this site is not accessible, SAT
materials will be made available by CSLP upon request via email to CSLP@irs.gov).

(i) Contractor employees who fail to comply with IRS security policy (to include completion and
certification of SAT requirements within the timeframe specified) may be subject to having their
access to IRS IT systems and facilities suspended, revoked or terminated (temporarily or
permanently).

                                               [End of clause]

Alternate 1 (AUG 2010)

Substitute the following paragraph (g) for paragraphs (g) of the basic clause when an existing
contract, task/delivery/purchase order, interagency agreement, or BPA is being modified.

(g) Contractors shall verify in writing within 30 days of contract modification, and by May 12, of
each year thereafter, that all of their affected employees have successfully completed the specified
SAT. Verification reports shall be signed by an official with the authority to legally bind the
Contractor.

I.6. IR1052.204-9005 Submission of Security Forms and Related Materials (JUN 2013)

As described in Department of the Treasury Security Manual (TD P 15-71), Chapter I, Section 1,
Position Sensitivity and Risk Designation, Contractor personnel assigned to perform work under
an IRS contract/order must undergo security investigative processing appropriate to the position
sensitivity and risk level designation associated to determine whether the Contractor personnel
should be permitted to work in the identified position. For security requirements at contractor
facilities using contractor managed resources, please reference Publication 4812, Contractor
Security Controls.

a. Contractor personnel performing under an agreement that authorizes unescorted access to and in
IRS facilities, and access to Sensitive But Unclassified (SBU) information or information systems
are subject to (and must receive a favorable adjudication or affirmative results with respect to) the
following eligibility/suitability pre-screening criteria, as applicable:

(1) IRS account history for tax compliance;

(2) Selective Service registration compliance;

(3) U.S. citizenship/residency compliance;



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(4) Background investigation forms;

(5) Credit report results (moderate and high risk investigations only);

(6) Federal Bureau of Investigation fingerprint results; and

(7) If applicable, prior background investigations.

In this regard, Contractor shall furnish the following electronic documents to the Contractor
Security Management (CSM) at CSM@irs.gov or CSLP@irs.gov within 10 business days of
assigning (or reassigning) an employee to this contract/order and prior to the contract employee
performing any work thereunder:

   •   The IRS provided Risk Assessment Checklist (RAC), and

   •   All required security forms (for new contractor employees), are available through the
       publicly accessible website for IRS Procurement.

b. Tax Compliance, Credit Checks and Fingerprinting:

(1) Contractor personnel whose contract/order exceeds 180 days must be eligible for access, per
certification of tax compliance, and shall undergo, at a minimum a National Agency Check and
Inquiries as a condition of work under the contract/order, to include a credit check and
fingerprinting.

(2) If the duration of employment is less than 180 days or access is infrequent (e.g., 2-3 days per
month) and the contractor requires unescorted access, the contractor employee must be eligible for
access, per certification of tax compliance, and require at a minimum a fingerprint check (Special
Agreement Check).

(3) With the exception of contractors who need access to IT systems, no background investigation
or tax check is necessary if the duration of employment is less than 180 days or access is infrequent
when there is escort provided by an IRS employee or an approved contractor employee at the same
or higher position risk level.

The contractor employee will be permitted to perform under the contract and have access to IRS
facilities only upon notice of an interim or final approval, as defined in Internal Revenue Manual
(IRM) 10.23.2 – Contractor Investigations, and is otherwise consistent with IRS security practices
and related IRMs, to include, but not limited to, IRM 1.4.6 – Managers Security Handbook, IRM
10.2.14 – Methods of Providing Protection, and IRM 10.8.1 - Policy and Guidance.
As prescribed in IRM 10.23.2, escorting in lieu of staff-like access for IT systems will not be
allowed.
                                               [End of clause]




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I.7 IR1052.204.9006 – Notification of Change in Contractor Employee Employment Status,
Assignment, or Standing

Include the following clause in all new solicitations, contracts, interagency agreements,
task/delivery/purchase orders, and BPAs, including simplified acquisitions, and existing contracts
and orders as prescribed in P&P No. 39.1(C) – Managing Contractor Access to IRS Owned or
Controlled Facilities, Information Systems, or Sensitive But Unclassified (SBU) Information

NOTIFICATION OF CHANGE IN CONTRACTOR EMPLOYEE
EMPLOYMENT STATUS, ASSIGNMENT, OR STANDING (AUG 2010)

(a) The contractor shall notify the Contracting Officer's Technical Representative (COTR) and the
Contractor Security Lifecycle Program (CSLP), via email, within one (1) business day of the
contractor becoming aware of any change in the employment status, assignment, or standing of a
contractor employee to this contract/order –to include, but not limited to, the following conditions:
        Receipt of the employee’s notice of intent to separate from employment or discontinue
            work under this IRS contract/task order;
        Knowledge of the employee’s voluntary separation from employment or performance
            on this contract/task order (if no prior notice was given);
        Transfer or reassignment of the employee and performance of duties under this
            contract/task order, in whole or in part, to another IRS contract/task order (and identify
            the gaining contract and representative duties/responsibilities to allow for an
            assessment of suitability based on position sensitivity/risk level designation);
        Separation, furlough or release from employment;
        Anticipated extended absence of more than 45 days;
        Change of legal name;
        Change to citizenship or lawful permanent resident status, or employment eligibility;
        Change in gender or other distinction when physical attributes figure prominently in
            the biography of an individual;
        Actual or perceived conflict of interest in continued performance under this
            contract/task order (provide explanation);
        Death.

(b) The notice shall include the following minimum information:
        Name of contractor employee
        Nature of the change in status, assignment or standing (i.e., provide a brief
          non-personal, broad-based explanation)
        Affected contract/task order number(s)
        Actual or anticipated date of departure or separation
        When applicable, the name of the IRS facility(s) this individual routinely works from
          or has access to when performing work under this contract/order
        Identification of any Government Furnished Property (GFP), Government Furnished
          Equipment (GFE), or Government Furnished Information (GFI) (to include Personal
          Identity Verification (PIV) credentials or badges) provided to the contractor employee
          and its whereabouts or status.




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(c) In the event the subject contractor employee is working on multiple contracts/orders,
notification shall be combined, and the cognizant COTR for each affected contract/order shall be
included in the joint notification along with the CSLP.

(d) As a general rule, the change in the employment status, assignment, or standing of a contractor
employee to this contract/order would not form the basis for an excusable delay for failure to
perform this contract under its terms.

                                     [End of clause]


I.8 IR1052.239-9007 – Access, Use or Operation of IRS Information Technology (IT)
Systems by Contractors

As prescribed in 1039.9201, include the following clause in all solicitations, contracts, interagency
agreements, task/delivery/purchase orders, and BPAs, including simplified acquisitions, when
contractor employees will access, use or operate IRS information technology systems, equipment
or resources.

ACCESS, USE OR OPERATION OF IRS INFORMATION TECHNOLOGY (IT)
SYSTEMS BY CONTRACTORS (AUG 2010)

In performance of this contract, the contractor agrees to comply with the following requirements
and assumes responsibility for compliance by his/her employees:

1. IRS Information Technology Security Policy and Guidance.

All current and new IRS contractor employees authorized staff-like (unescorted) access to
Treasury/IRS owned or controlled facilities and information systems, or work, wherever located,
on those contracts which involve the design, operation, repair or maintenance of information
systems and access to sensitive but unclassified information shall comply with the IRS
Information Technology Security Policy and Guidance, Internal Revenue Manual (IRM) 10.8.1. A
copy of IRM 10.8.1 may be requested from the Contracting Officer or Contracting Officer’s
Technical Representative (COTR) or obtained from the publicly available portions of the IRM
at http://www.irs.gov/irm/ .

2. Access Request and Authorization.

Within (10) business days after contract award, issuance of a task order or other award notice, or
acceptance of new or substitute contractor employees by the COTR, the contractor shall provide
the COTR and the Contractor Security Lifecycle Program, (CSLP) a list of names of all applicable
contractor employees and the IRS location(s) identified in the contract for which access is
requested. A security screening, if determined appropriate by the IRS and in accordance with IRM
10.23.2, Contractor Investigations, and Department of the Treasury Security Manual (TD P)
15-71, Chapter II, Section 2, will be conducted by the IRS for each contractor employee requiring
access to IRS’ IT systems, or as otherwise deemed appropriate by the COTR. The Government



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reserves the right to determine the fitness or suitability of a contractor employee to receive or be
assigned staff-like access under a contract, and whether the employee shall be permitted to
perform or continue performance under the contract. Security screenings of contractor employees
which reveal the following may be grounds for declining staff-like access under a contract:
conviction of a felony, a crime of violence or a serious misdemeanor, a record of arrests for
continuing offenses, or failure to file or pay Federal income tax. (Note: This is not an inclusive
list.) Upon notification from Personnel Security of an acceptable (favorably adjudicated)
contractor employee security screening, the COTR will complete an Online 5081 (OL5081),
Automated Information System (AIS) User Registration/Change Request, for each prime or
subcontractor employee and require an electronic signature from each employee indicating the
contractor employee has read and fully understands the security requirements governing access to
the Service’s IT systems. IRS approval of the OL5081 is required before a contractor employee is
granted access to, use or operation of IRS IT systems. IRM 10.8.1 includes more detailed
information on the OL 5081.

3. Contractor Acknowledgement.

The contractor also acknowledges and agrees that he or she understands that all contract
employees must comply with all laws, IRS system security rules, IRS security policies, standards,
and procedures. The contractor also acknowledges that a contract employee’s unsanctioned,
negligent, or willful violation of the laws, IRS system security rules, IRS security policies,
standards, and procedures may result in the revocation of access to IRS information technology
systems, immediate removal from IRS premises and the contract, and for violations of Federal
statute or state laws, the contract employee may be subject to arrest by Federal law enforcement
agents.

4. Limited Personal Use of Government IT Resources.

   A. Contractors, like employees, have no inherent right to use Government IT resources, and
      this policy does not create the right to use Government IT resources for nongovernmental
      purposes. However, as a courtesy, the privileges (and restrictions) established by IRM
      10.8.27, IRS Policy On Limited Personal Use of Government Information Technology
      Resources for employees, are extended to contractors.

   B. Contractors, like employees, have the privilege to use Government IT resources for
      nongovernmental purposes when such use:
    involves minimal additional expense to the Government;
    occurs during non-work hours for reasonable duration and frequency;
    does not violate the Codes of Ethical Conduct;
    does not overburden any of the IRS’ IT resources;
    does not adversely affect the performance of official duties;
    does not interfere with the mission or operations of the IRS; and
    complies with existing Federal Government, Department of the Treasury, and IRS policies
      for, but not limited to— ethics, security, disclosure, and privacy.
   C. Contractors, like employees, are specifically prohibited from inappropriate Internet usage
      such as participation in: gambling, pornography, personal communication on social



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       networking sites, peer-to-peer (P2P) file sharing, downloading unauthorized programs or
       software, and other activities that open IRS information or information systems to security
       risks. Specific examples are referenced in IRM 10.8.27, Exhibit 10.8.27-1, Prohibited Uses
       of Government IT Resources.

   D. Contractors, like employees, are specifically prohibited from the pursuit of private
      commercial business activities or profit-making ventures using the Government’s IT
      resources. The ban also includes the use of the Government’s IT resources to assist
      relatives, friends, or other persons in such activities.

   E. Contractors, like employees, are specifically prohibited from engaging in any political
      fundraising activity, endorsing any product or service, participating in any lobbying
      activity, or engaging in any prohibited partisan political activity, in accordance with, Title 5
      - Code of Federal Regulations (CFR) - Part 735, Office of Personnel Management,
      Employee Responsibilities and Conduct.

    F. Contractors, like employees, should have no expectation of privacy, while using any
        Government IT resources at any time, including (but not limited to) accessing the Internet
        or using e-mail.
Any unauthorized use may be reported to the Contracting Officer’s Technical Representative
(COTR), the Contracting Officer, and the Computer Security Incident Response Center (CSIRC)
(for subsequent referral to the Department of Treasury Inspector General for Tax Administration
(TIGTA) and/or the Personnel Security, Centralized Adjudication Group (CAG), as appropriate).

5. Replacement Personnel.

The contractor acknowledges that in the event of an alleged violation of the policies and rules on
access, use or operation of IRS’ IT resources, the IRS, at its discretion, may immediately withdraw
access privileges of the contractor employee alleged to have violated said policies and rules, and
request suspension of that employee from performance under this or any IRS contract pending the
conclusion of its investigation of the matter. At the conclusion of the its investigation, if the IRS
determines that extended or permanent revocation of access to IRS’ IT resources computer systems
and/or facilities, or other disciplinary action is warranted or in its best interest, the contractor
agrees to remove the contractor employee that was the subject of the investigation within one day
of official notification by the IRS of its access eligibility determination, and provide a replacement
within five days. Replacement personnel must be acceptable to the IRS. The proposed replacement
personnel must have a substantive amount of experience in the job position in which they will be
performing; including equal or greater qualifications as the individual being replaced. In
evaluating proposed replacement personnel, the IRS reserves the right to make an assessment on
the technical and/or professional qualifications of the proposed substituting individual(s). The
Contracting Officer (on the advice and recommendation of the COTR) has the right to disallow the
proposed substituting individual(s) from performing under the subject contract, when the technical
and/or professional qualifications of the proposed replacement personnel are determined (1) not to
be substantially equivalent to the technical and/or professional qualifications of the personnel they
are to replace, or (2) not sufficient to reasonably insure successful performance, or (3) otherwise
endanger contract performance, progression, or completion. New hires or replacement personnel



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are subject to and must receive an acceptable (favorably adjudicated) contractor employee security
screening conducted by Personnel Security.

6. Monitoring Notification.

IRS management retains the right to monitor both the content and the level of access of contractor
employees’ use of IRS IT systems. Contractor employees do not have a right, nor should they have
an expectation, of privacy while using any IRS information technology system at any time,
including accessing the Internet or using e-mail. Data maintained on government office equipment
may be subject to discovery and Freedom of Information Act requests. By using government
information technology systems, consent to monitoring and recording is implied with or without
cause, including (but not limited to) accessing the Internet or using e-mail or the telephone. Any
use of government information technology systems is made with the understanding that such use is
generally not secure, is not private and is not anonymous.
7. Subcontracts.

The Contractor shall incorporate this clause in all subcontracts, subcontract task or delivery orders
or other subcontract performance instrument where the subcontractor employees will require
access, use or operation of IRS information technology systems. [End of clause]




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                              Section J – List of Attachments
Exhibit 1 Surveillance Activity Checklists

“Checklists” may be used to document expert performance. An example of a “Surveillance
Activity Checklist” is provided below:

SURVEILLANCE ACTIVITY CHECKLIST
RTS Requisition Number          Award Number (PIIN)


COR/Evaluator of
Performance
Contract Task or
Deliverable
Contract Section


Performance
Standard
Acceptable Quality
Level
Method of
Surveillance
Date Accomplished


Compliance             ___ Exceeded
                       ___ Met
                       ___ Partially Met
                           Failed To Meet
Comments/Remarks




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Exhibit 2 Decision Table

Performance evaluators may find the use of a “decision table” helpful in documenting symptoms
and in identifying possible sources of performance problems as well as assisting in the
determination of contributing factors. Use of a “decision table” is optional. An example is
provided below:

    DECISION TABLE
    Deficiency




    Probable Cause
    Factors/Impacting
    Conditions


    Likely Source of
    Probable Cause
    Factors/Impacting
    Conditions

    Recommended
    Contract
    Administrative Actions


    Suggested Review
    Procedures and/or
    Preventive Measures




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Exhibit 3 Performance Requirements Summary Table

PERFORMANCE REQUIREMENT:
Phase 1 – Initial Evaluation (Fixed-Price)
REQUIRED                STANDARD                 METHOD OF            WEIGHT
SERVICE                                          INSPECTION
Preliminary Meeting     Paragraph C.3.1.2        100 Percent and      5% of Phase 1
                                                 Customer Complaint
Additional Meetings     Paragraph C.3.1.2        100 Percent and      5% of Phase 1
or Calls with Service                            Customer Complaint
Detailed Briefing       Paragraph C.3.1.2        100 Percent and      40% of Phase 1
                                                 Customer Complaint
Additional Contractor   Paragraph C.3.1.2        100 Percent and      45% of Phase 1
services to support                              Customer Complaint
case
Monthly Status Report Paragraph C.4              100 Percent          5% of Phase 1




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